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                                            EXHIBIT B



                             Redline of Revised Proposed Final DIP Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                    )
In re:                                                              ) Chapter 11
                                                                    )
Amyris, Inc.,1                                                      ) Case No. 23-11131 (TMH)
                                                                    )
                                      Debtors.                      ) (Jointly Administered)
                                                                    )
                                                                      Re: Docket Nos. 19, 54, and 322

          SECOND INTERIMFINAL ORDER (I) AUTHORIZING THE DEBTORS
           (A) TO OBTAIN POSTPETITION FINANCING AND (B) TO UTILIZE
          CASH COLLATERAL, (II) GRANTING ADEQUATE PROTECTION TO
    PREPETITION SECURED PARTIES, (III) MODIFYING THE AUTOMATIC STAY,
    (IV) SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

           Upon the motion (the “DIP Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) in the above captioned chapter 11 cases (collectively, the

“Chapter 11 Cases”) for entry of a second interimfinal order (this “InterimFinal Order”),

pursuant to sections 105, 361, 362, 363, 364, 507, and 552 of title 11 of the United States Code

(as amended, the “Bankruptcy Code”), rules 2002, 4001, 6004, and 9014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 2002-1(b), 4001-2, 9006-1, and 9013

of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court

for the District of Delaware (the “Local Rules”), seeking entry of this InterimFinal Order:

        (i)         authorizing Amyris, Inc., Amyris Clean Beauty, Inc., and Aprinnova, LLC, in
                    their capacity as borrowers (collectively, the “Borrowers”), to obtain postpetition
                    financing, and for each of the other Debtors and such other non-Debtor


1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
    100, Emeryville, CA 94608.
2
    Capitalized terms used but not defined herein have the meanings given to such terms in the Motion or the DIP
    Credit Agreement (as defined herein).

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                   subsidiaries to guarantee unconditionally (the Debtors and such other non-Debtor
                   subsidiaries, other than the Borrowers as specified below3, and such other
                   non-Debtor subsidiaries as required by the DIP Agent (as defined below)
                   collectively, the “Guarantors”), on a joint and several basis, the Borrowers’
                   obligations in connection with a senior secured superpriority multiple-draw term
                   loan facility (the “DIP Facility”) in the aggregate principal amount of up to $190
                   million (the “DIP Loans”), subject to and in accordance with the terms and
                   conditions set forth in that certain Senior Secured Super Priority Debtor In
                   Possession Loan Agreement, dated as of August 9, 2023, attached hereto as
                   Exhibit A to the Second Interim Order (as amended, restated, amended and
                   restated, supplemented, or otherwise modified from time to time, the “DIP Credit
                   Agreement”), by and among the Borrowers, the Guarantors, and Euagore, LLC
                   (together with the other lenders from time to time party thereto, the “DIP
                   Lenders”), and Euagore, LLC, as Administrative Agent (the “DIP Agent” and,
                   together with the DIP Lenders, the “DIP Secured Parties”), and consistent with all
                   other terms and conditions of the DIP Documents (as defined herein) and upon
                   entry of the Interim Order, and subject to the terms of the Final Order (as defined
                   herein), resulting in:

                         a. upon entry of the Second Interim Order, draws prior to entry of the Final
                            Order in the aggregate principal amount of up to $93 million (each an
                            “Initial Borrowing” and collectively the “Initial Borrowings”); and

                         b. upon entry of thethis Final Order, multiple additional draws (each a
                            “Subsequent Borrowing” and collectively, the “Subsequent
                            Borrowings”) in the aggregate principal amount not to exceed $97
                            million; provided that (x) each Subsequent Borrowing shall not be in an
                            amount greater than the amounts specified in the Budget (each as
                            defined herein) to be drawn through the date of such Subsequent
                            Borrowing and (y) each Subsequent Borrowing shall be at least
                            twenty-one (21) calendar days apart; and

       (ii)        authorizing the Debtors to execute, deliver and perform under the DIP Credit
                   Agreement, and together with this Interim Order, the Final Order, the Interim
                   Orders and all other related agreements, documents, and instruments delivered or
                   executed in connection therewith, including, without limitation, as applicable,
                   security agreements, pledge agreements, control agreements, mortgages, deeds,
                   charges, guaranties, promissory notes, intercompany notes, certificates,


3
    The Guarantors shall be AB Technologies LLC, Amyris Fuels, LLC, Amyris-Olika LLC, Onda Beauty Inc.,
    Upland 1, LLC, Amyris Eco-Fab LLC, Clean Beauty Collaborative, Inc., Clean Beauty 4U LLC, Clean Beauty 4U
    Holdings, LLC, Amyris Clean Beauty LATAM Ltda., Amyris Biotecnologia do Brasil Ltda., Amyris Europe
    Trading B.V., Amyris Bio Products Portugal, Unipessoal, Lda., Beauty Labs International Limited, Interfaces
    Industria e Comericio de Cosmeticos Ltda., and Amyris UK Trading Limited.
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                    intellectual property security agreements, and such other documents that may be
                    reasonably requested by the DIP Agent (collectively, as such may be amended,
                    restated supplemented, or otherwise modified from time to time in accordance
                    with the terms thereof and hereof, the “DIP Documents”), each of which shall be
                    in form and substance satisfactory to the DIP Secured Parties; and to perform
                    such other and further acts as may be reasonably necessary, desirable or
                    appropriate in connection with the DIP Documents;

      (iii)         authorizing the Debtors to use the DIP Loans, the proceeds thereof, and the
                    Prepetition Collateral (as defined herein), including Cash Collateral (as defined
                    herein), in accordance with the Budget4 (subject only to Permitted Variances (as
                    defined herein) and in accordance with the DIP Documents) in form and
                    substance acceptable to the DIP Lenders, to provide working capital for, and for
                    other general corporate purposes of, the Debtors, solely in accordance with this
                    InterimFinal Order and the DIP Documents;

      (iv)          granting the DIP Agent, for itself and the for the benefit of the DIP Lenders, a
                    valid, binding, continuing, enforceable, non-avoidable, automatically and properly
                    perfected, first priority priming senior security interest in and lien upon the
                    Prepetition Collateral (as defined herein) and all proceeds thereof, subject only to
                    the Carve-Out (as defined herein);

       (v)          granting to the DIP Agent, for itself and for the benefit of the DIP Lenders, a
                    valid, binding, continuing, enforceable, non-avoidable, automatically and properly
                    perfected, first priority senior security interest in and lien upon the Prepetition
                    Unencumbered Collateral (as defined herein) and all proceeds thereof, including
                    upon entry of the Final Order, all Avoidance Actions Proceeds (as defined
                    herein), subject only to (x) the Carve-Out and (y) other valid and unavoidable
                    liens perfected prior to the Petition Date (or perfected after the Petition Date to
                    the extent permitted by section 546(b) of the Bankruptcy Code) on the terms and
                    conditions set forth herein and in the DIP Documents; provided that with respect
                    to: (i) any unencumbered equity interests in any foreign subsidiaries of the
                    Borrower that are Guarantors; or (ii) any unencumbered intellectual property
                    rights (including, without limitation, licenses, grants, contracts, in lieu of such




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    All references in this Final Order (other than in Section 6 hereof (which shall be read in accordance with its
    terms)) to the use of DIP Loans, the proceeds thereof, and/or Prepetition Collateral, including Cash Collateral, “in
    accordance with the Budget” or “consistent with the Budget” shall be deemed to also include the following
    parenthetical “(or, in the case of the Committee’s Professionals, in accordance with or consistent with the
    Committee Carve-Out Amount (subject to the Liquidity Condition))” (each of the foregoing capitalized terms, as
    defined below).

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                 lien, the DIP Agent may elect45 to take a grant of a non-avoidable, automatically
                 vested, senior and first priority right to, the value of such unencumbered assets,
                 including any proceeds realized on account thereof, or in connection therewith,
                 which value shall not be allocated, distributed, or realized by any party until the
                 payment in full of the DIP Obligations (as defined herein), in each case subject to
                 the Carve Out;

      (vi)       granting the DIP Agent, for itself and the for the benefit of the DIP Lenders, a
                 valid, binding, continuing, enforceable, non-avoidable, automatically and properly
                 perfected, security interest in and lien upon any Other Encumbered Prepetition
                 Collateral (as defined herein) (Other Encumbered Prepetition Collateral, together
                 with the Prepetition Collateral and the Prepetition Unencumbered Collateral, the
                 “DIP Collateral”) and all proceeds thereof, junior only to the valid, binding,
                 continuing enforceable and non-avoidable liens on the Other Prepetition
                 Encumbered Collateral as of the Petition Date, subject to the Carve-Out

     (vii)       granting to the DIP Agent, for itself and for benefit of the DIP Lenders, allowed
                 superpriority administrative expense claims against each of the Debtors’ estates in
                 respect of all DIP Obligations over any and all administrative expenses of any
                 kind or nature, subject and subordinate only to the payment of the Carve-Out on
                 the terms and conditions set forth herein and in the DIP Documents;

     (viii)      authorizing and directing the Debtors to pay all principal, interest, fees, costs,
                 expenses, and other amounts payable under the DIP Documents as such become
                 due and payable, as provided and in accordance therewith;

      (ix)       authorizing the Debtors, the DIP Secured Parties, and the Foris Prepetition
                 Secured Lenders (as defined herein) to take all commercially reasonable actions to
                 implement and effectuate the terms of this InterimFinal Order;

       (x)       authorizing the Debtors to waive (a) their right to surcharge the DIP Collateral (as
                 defined herein) pursuant to section 506(c) of the Bankruptcy Code, (b) subject to
                 entry of the Final Order, to the extent provided therein, their right to surcharge the
                 Prepetition Collateral (as defined herein) pursuant to section 506(c) of the
                 Bankruptcy Code, and (c) any “equities of the case” exception under Bankruptcy
                 Code section 552(b) with respect to the proceeds, products, offspring, or profits of
                 any of the Prepetition Collateral, subject to entry of the Final Order, to the extent
                 provided therein, or the DIP Collateral, as applicable;

      (xi)       authorizing the Debtors to waive the equitable doctrine of “marshaling” and
                 similar doctrines (i) subject to the entry of the Final Order, to the extent provided

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       For all acts required of the DIP Agent as set forth in this Final Order and the Interim OrderOrders, the DIP
 Agent acts at the direction of the Required Lenders, as defined in the DIP Credit Agreement.

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                 therein, with respect to any of the Prepetition Collateral (including Cash
                 Collateral (as defined herein)) for the benefit of any party other than the Foris
                 Prepetition Secured Lenders (except with respect to the marshaling of Avoidance
                 Action Proceeds as provided in Paragraph 9(a) and (b)), (ii) with respect to the
                 DIP Collateral for the benefit of any party other than the DIP Secured Parties and
                 (iii) with respect to the Adequate Protection (as defined herein) granted to the
                 Foris Prepetition Secured Lenders;

   (xii)         granting Adequate Protection to the Foris Prepetition Secured Lenders to the
                 extent of any diminution in value as of the Petition Date of their interests in the
                 Prepetition Collateral (as defined herein), including, without limitation, any
                 diminution in value resulting from the imposition of the automatic stay under
                 section 362 of the Bankruptcy Code (the “Automatic Stay”), the Debtors’ use,
                 sale, or lease of the Prepetition Collateral (as defined herein), including Cash
                 Collateral and the priming of its interests in the Prepetition Collateral (including
                 Cash Collateral) as provided in Paragraph 9;

  (xiii)         vacating and modifying the Automatic Stay as set forth herein to the extent
                 necessary to permit the Debtors and their affiliates, the DIP Secured Parties, and
                 the Foris Prepetition Secured Lenders to implement and effectuate the terms and
                 provisions of this InterimFinal Order, and the DIP Documents, and, upon entry,
                 the Final Order, to implement and effectuate the terms and provisions of the Final
                 Order and the DIP Documents, as further set forth herein and therein,
                 respectively; and

   (xiv)         waiving any applicable stay (including under Bankruptcy Rule 6004) and
                 providing for immediate effectiveness of this InterimFinal Order and, upon entry,
                 the Final Order; and

        (xv)     scheduling a final hearing (the “Final Hearing”) to consider the relief requested in
                 the DIP Motion and entry of a final order (the “Final Order”) authorizing, among
                 other things, the Subsequent Borrowings, continued use of Cash Collateral and
                 the DIP Documents on a final basis, and approving the form of notice with respect
                 to the Final Hearing.

        The Court having considered the interim relief requested in the DIP Motion; the exhibits

thereto; the (i) the Declaration of Han Kieftenbeld in Support of the Debtors’ Chapter 11

Petitions and First Day Relief (the “First Day Declaration”), (ii) the Declaration of Lorie Beers

in Support of the Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A)

to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate

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Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a

Final Hearing, and (V) Granting Related Relief (the “Beers Declaration”), and (iii) the

Declaration of Steve Fleming in Support of the Motion of the Debtors for Interim and Final

Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash

Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying the

Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief (the “Fleming

Declaration”); and the other evidence submitted or adduced and the arguments of counsel made

at the interim hearing on August 11, 2023 and at a further hearing on September 14, 2023 (the

“Interim Hearing”); and the Court having entered an initial interim order on the DIP Motion on

August 11, 2023 [Dkt.Docket No. 54] (the “First Interim Order”); and the other evidence

submitted or adduced and the arguments of counsel made at a final hearing on September 14,

2023; and the Court having entered a second interim order on the DIP Motion on September 19,

2023 [Docket No. 322] (the “Second Interim Order” and together with the First Interim Order,

the “Interim Orders”); and the other evidence submitted or adduced and the arguments of counsel

made at the final hearing on October 4, 2023 (the “Final Hearing”); and due and sufficient

notice of the InterimFinal Hearing having been given in accordance with Bankruptcy Rules 2002,

4001(b), (c), and (d), and all applicable Local Rules and the Interim Orders; and the InterimFinal

Hearing having been held and concluded; and all objections, if any, to the interim relief

requested in the DIP Motion having been withdrawn, resolved, or overruled by the Court; and it

appearing that approval of the interim relief requested in the DIP Motion is necessary to avoid

immediate and irreparable harm to the Debtors and their estates pending the Final Hearing,

otherwise is fair and reasonable and in the best interests of the Debtors’ and their estates, and is

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essential for the continued operations of the Debtors’ business and the preservation of the value

of the Debtors’ assets; and it appearing that the Debtors’ entry into the DIP Documents is a

sound and prudent exercise of the Debtors’ business judgment; and after due deliberation and

consideration, and good and sufficient cause appearing therefor;

        BASED UPON THE RECORD ESTABLISHED AT THE INTERIMFINAL

HEARING, THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT

AND CONCLUSIONS OF LAW:56

        A.       Petition Date. On August 9, 2023 (the “Petition Date”), each of the Debtors filed

a voluntary petition under chapter 11 of the Bankruptcy Code in the United States Bankruptcy

Court for the District of Delaware commencing these Chapter 11 Cases.

        B.       Debtors in Possession. The Debtors continue to manage and operate their

businesses and properties as debtors in possession pursuant to sections 1107 and 1108 of the

Bankruptcy Code. No trustee or examiner has been appointed in these Chapter 11 Cases.

        C.       Jurisdiction and Venue. The Court has jurisdiction over the Motion, these Chapter

11 Cases, and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012. Consideration of the Motion constitutes a core

proceeding pursuant to 28 U.S.C. § 157(b)(2). The Court may enter a final order consistent with

Article III of the United States Constitution. Venue for these Chapter 11 Cases and proceedings

on the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409.



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        Findings of fact shall be construed as conclusions of law, and conclusions of law shall be construed as
 findings of fact, pursuant to Bankruptcy Rule 7052.
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        D.        Committee. As of the date hereofOn August 27, 2023, the United States Trustee

for the District of Delaware (the “U.S. Trustee”) has not formed an official committee of

unsecured creditors in these Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code

(any such committee, the “Committee”) [Docket No. 152].

        E.        Notice. The InterimFinal Hearing was held pursuant to Bankruptcy Rule

4001(b)(2) and (c)(2). As evidenced by the proofs of service filed on the docket for these

Chapter 11 Cases, proper, timely, adequate and sufficient notice of the InterimFinal Hearing and

the Motion has been provided in accordance with the Bankruptcy Code, the Bankruptcy Rules,

and the Local Rules, and nothe Interim Orders. No further notice of the Motion or entry of this

InterimFinal Order shall be required.

        F.        Debtors’ Stipulations. Without prejudice to the rights of parties in interest, other

than the Debtors, but subject to the limitations thereon contained in Paragraphs 11 and 2726 in

the InterimFinal Order herein, the Debtors stipulate and agree, having considered and reviewed

the facts and circumstances and record, that the following statesstatements are true and correct

(collectively, Paragraphs F(i) through (vii) below are referred to herein as the “Debtors’

Stipulations”):

                  (i)     Foris Prepetition Secured Loans.

                          (a)      Pursuant to those certain (i) Amended and Restated Loan and

Security Agreement by and among Amyris, Inc. (“Amyris”), as borrower, Amyris Clean Beauty,

Inc. (“Clean Beauty”), Amyris Fuels, LLC (“Amyris Fuels”), and AB Technologies LLC, as

guarantors (“AB Technologies,” and together with Clean Beauty and Amyris Fuels, the

“Subsidiary Guarantors” or “Subsidiary Grantors,” as applicable herein), and Foris Ventures,

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LLC (“Foris”), as lender, dated as of October 28, 2019, as amended by that certain Omnibus

Amendment Agreement, dated as of June 5, 2023, and as further amended, restated,

supplemented or otherwise modified from time to time, (ii) Amended and Restated Loan and

Security Agreement by and among Amyris, as borrower, the Subsidiary Guarantors, as

guarantors, and Foris, as lender, dated as of September 27, 2022, as amended by that certain

Omnibus Amendment Agreement, dated as of June 5, 2023, and as further amended, restated,

supplemented or otherwise modified from time to time, (iii) Bridge Loan and Security

Agreement by and among Amyris, as borrower, the Subsidiary Guarantors, as guarantors, and

Perrara Ventures, LLC (“Perrara”), as lender, dated as of March 10, 2023, as amended by that

certain Omnibus Amendment Agreement, dated as of June 5, 2023, and as further amended,

restated, supplemented or otherwise modified from time to time, (iv) Loan and Security

Agreement by and among Amyris, as borrower, the Subsidiary Guarantors, as guarantors, and

Anesma Group, LLC (“Anesma”), as lender, dated as of June 5, 2023, (v) Loan and Security

Agreement by and among Amyris, as borrower, the Subsidiary Guarantors, as guarantor, and

Anjo Ventures, LLC (“Anjo”), as lender, dated June 29, 2023, and (vi) Loan and Security

Agreement by and among Amyris, as borrower, the Subsidiary Guarantors, as guarantors, and

Muirisc, LLC (“Muirisc”), and lender, dated as of August 2, 2023 (all of the foregoing as further

amended, supplemented, amended and restated, or otherwise modified prior to the Petition Date,

the “Foris Prepetition Secured Loans,” and collectively with any other agreements and

documents executed or delivered in connection with the Foris Prepetition Secured Loans,

including the Security Agreements (as defined herein), the “Foris Prepetition Secured Loan




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Agreements”), and Foris, Perrara, Anesma, Anjo, and Muirisc (collectively, the “Foris

Prepetition Secured Lenders”), provided prepetition term loans to the Company.

                          (b)      As of the Petition Date, Amyris and the Subsidiary Guarantors

were justly and lawfully indebted and liable to the Foris Prepetition Secured Lenders pursuant to

the Foris Prepetition Secured Loan Agreements, without defense, counterclaim, or offset of any

kind, in the aggregate principal amount of at least $295,000,000296.0 million, plus at least $16.1

million in accrued and unpaid non-default interest, plus any additional fees, costs, expenses

(including any attorneys’, financial advisors’, and other professionals’ fees and expenses),

reimbursement obligations, indemnification obligations, contingent obligations, and other

charges of whatever nature, whether or not contingent, whenever arising, due, or owing, and all

other Obligations (as defined in the Foris Prepetition Secured Loan Agreements) owing, in each

case under or in connection with the Foris Prepetition Secured Loan Agreements without

defense, counterclaim, or offset of any kind (but subject to liquidation of unliquidated

obligations) (collectively, the “Foris Prepetition Obligations”), which Foris Prepetition

Obligations has been guaranteed on a joint and several basis by each of the Subsidiary

Guarantors.

                          (c)      From and after the Petition Date, Amyris and the Subsidiary

Guarantors are justly and lawfully indebted and liable to the Foris Prepetition Secured Lenders

pursuant to the Foris Prepetition Secured Loan Agreements for accrued default interest, plus any

additional fees, costs, expenses (including any attorneys’, financial advisors’, and other

professionals’ fees and expenses), reimbursement obligations, indemnification obligations,

contingent obligations, and other charges of whatever nature, whether or not contingent,

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whenever arising, due, or owing, and all other Obligations owing, in each case, under or in

connection with the Foris Prepetition Secured Loan Agreements after the Petition Date and

without defense, counterclaim, or offset of any kind (but subject to liquidation of unliquidated

obligations).

                 (ii)     Foris Prepetition Loan Collateral. In connection with the Foris Secured

Prepetition Loan Agreements, Amyris and the Subsidiary Guarantors, as applicable, entered into

those certain (i) Security Agreement, by and between Amyris, the Subsidiary Grantors, and Foris,

dated as of September 27, 2022; (ii) Security Agreement, by and between Amyris, the Subsidiary

Grantors, and Perrara, dated as of March 10, 2023; (iii) Patent Security Agreement, by and

between Amyris, the Subsidiary Grantors, and Foris, dated as of June 5, 2023; (iv) Trademark

Security Agreement, by and between Amyris, the Subsidiary Grantors, and Foris, dated as of

June 5, 2023; (v) Security Agreement, by and between Amyris, the Subsidiary Grantors, and

Anesma, dated as of June 5, 2023; (vi) Patent Security Agreement, by and between Amyris, the

Subsidiary Grantors, and Anesma, dated as of June 5, 2023; (vii) Trademark Security

Agreement, by and between Amyris, the Subsidiary Grantors, and Anesma, dated as of June 5,

2023; (viii) Patent Security Agreement by and between Amyris, the Subsidiary Grantors, and

Perrara, dated as of June 5, 2023; (ix) Trademark Security Agreement by and between Amyris,

the Subsidiary Grantors, and Perrara, dated as of June 5, 2023; (x) Security Agreement by and

between Amyris, the Subsidiary Grantors, and Anjo dated as of June 29, 2023; (xi) Patent

Security Agreement, by and between Amyris, the Subsidiary Grantors, and Anjo, dated as of

June 29, 2023; (xii) Trademark Security Agreement, by and between Amyris, the Subsidiary

Grantors, and Anjo, dated as of June 29, 2023; (xiii) Security Agreement by and between

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Amyris, the Subsidiary Grantors, and Muirisc, dated as of August 2, 2023; (xiv) Trademark

Security Agreement, by and between Amyris, the Subsidiary Grantors, and Muirisc, dated as of

August 2, 2023; (xv) Patent Security Agreement, by and between Amyris, the Subsidiary

Grantors, and Muirisc, dated as of August 2, 2023; and (xvi) Copyright Security Agreement, by

and between Amyris, the Subsidiary Grantors, and Muirisc, dated as of August 2, 2023 (all of the

foregoing as further amended, supplemented, amended and restated, or otherwise modified from

time to time, the “Security Agreements”). Pursuant to the Foris Prepetition Secured Loan

Agreements, the Foris Prepetition Obligations are secured by valid, binding, perfected first

priority security interests in and liens (the “Foris Liens”) on the “Collateral,” as defined in the

Security Agreements (the “Prepetition Collateral”).

                 (iii)    Cash Collateral. Any and all of the Debtors’ cash, including the Debtors’

cash and other amounts on deposit or maintained in any account or accounts by the Debtors,

including any amounts generated by the collection of accounts receivable or other disposition of

the Prepetition Collateral existing as of the Petition Date, and the proceeds of any of the

foregoing is the Foris Prepetition Secured Lenders’ cash collateral within the meaning of

Bankruptcy Code section 363(a) (the “Cash Collateral”).

                 (iv)     Bank Accounts. The Debtors acknowledge and agree that as of the Petition

Date, none of the Debtors has either opened or maintains any bank accounts other than the

accounts listed in the exhibit attached to any order authorizing the Debtors to continue to use the

Debtors’ existing cash management system (the “Cash Management Order”).

                 (v)      Validity, Perfection, and Priority of Foris Liens and Prepetition

Obligations. Each of the Debtors acknowledges and agrees that: (a) as of the Petition Date, the

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Foris Liens are valid, binding, enforceable, non-avoidable, and properly perfected liens on and

security interests in the Prepetition Collateral and were granted to, or for the benefit of, the Foris

Prepetition Secured Lenders for fair consideration and reasonably equivalent value; (b) as of the

Petition Date, the Foris Liens are subject and/or subordinate only to valid, perfected, and

unavoidable liens and security interests existing as of the Petition Date that are senior in priority

to the Foris Liens as permitted by the terms of the Foris Prepetition Secured Loan Agreements;

(c) the Foris Prepetition Obligations constitute legal, valid, binding, and non-avoidable

obligations of Amyris and the Subsidiary Guarantors enforceable in accordance with the terms of

the applicable Foris Prepetition Secured Loan Agreements; (d) no offsets, challenges, objections,

defenses, claims, or counterclaims of any kind or nature to any of the Foris Liens or Foris

Prepetition Obligations exist, and no portion of the Foris Liens or Foris Prepetition Obligations

is subject to any challenge or defense including impairment, set-off, right of recoupment,

avoidance, attachment, disallowance, disgorgement, reduction, recharacterization, recovery,

subordination (whether equitable or otherwise), attack, offset, defense, counterclaims,

cross-claims, or “claim” (as defined in the Bankruptcy Code), pursuant to the Bankruptcy Code

or applicable nonbankruptcy law; (e) the Debtors and their estates have no claims, objections,

challenges, causes of actions, recoupments, counterclaims, cross-claims, setoff rights, and/or

choses in action, including “lender liability” causes of action, derivative claims, or avoidance

claims under chapter 5 of the Bankruptcy Code, whether arising under applicable state law or

federal law (including any recharacterization, subordination, avoidance, disgorgement, recovery,

or other claims arising under or pursuant to sections 105, 510, or 541 through 553 of the

Bankruptcy Code), against the Foris Prepetition Secured Lenders, or any of their respective

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affiliates, agents, representatives, attorneys, advisors, professionals, officers, directors, and

employees arising out of, based upon, or related to their loans under the Foris Prepetition

Secured Loan Agreements, the Foris Prepetition Obligations, or the Foris Liens; and (f) the

Debtors waive, discharge, and release any right to challenge any of the Foris Prepetition Secured

Loans, the amount, allowance, character and priority of the Debtors’ Obligations under the Foris

Prepetition Secured Loans, and the validity, binding, legal, enforceability, allowance, amount,

characterization, extent and priority as to the Foris Liens securing the Foris Prepetition Secured

Loans.

                 (vi)     No Claims or Causes of Action. No claims or causes of action held by the

Debtors or their estates exist against, or with respect to, the Foris Prepetition Secured Lenders,

the Foris Prepetition Secured Loans, the Foris Prepetition Secured Loan Agreements, or under

any agreements, documents, facts or circumstances, by and among, or related to, the Debtors and

the Foris Prepetition Secured Lenders.

                 (vii)    Releases. Effective as of the date of entry of thisthe First Interim Order,

as to the Debtors only, subject solely to the rights and limitations set forth in Paragraphs 11 and

2726 herein, each of the Debtors and the Debtors’ estates, on its and their own behalf, on behalf

of its and their respective past, present and future predecessors, heirs, successors, subsidiaries,

and assigns, hereby absolutely, unconditionally and irrevocably releases and forever discharges

and acquits the Foris Prepetition Secured Lenders, the DIP Secured Parties, and each of their

respective Representatives (as defined herein), in each case solely in their respective capacities

as such and not in any other capacities (collectively, the “Released Parties”), from any and all (a)

obligations and liabilities to the Debtors (and their successors and assigns) and (b) claims,

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counterclaims, demands, defenses, offsets, debts, accounts, contracts, liabilities, actions and

causes of action arising prior to the date of thisthe First Interim Order of any kind, nature or

description, whether matured or unmatured, known or unknown, asserted or unasserted, foreseen

or unforeseen, accrued or unaccrued, suspected or unsuspected, liquidated or unliquidated,

pending or threatened, arising in law or equity, upon contract or tort or under any state or federal

law or otherwise, in each case arising out of or related to (as applicable) the Foris Prepetition

Secured Loan Agreements, the DIP Documents, the obligations owing and the financial

obligations made thereunder, the negotiation thereof and of the transactions and agreements

reflected thereby, and the obligations and financial obligations made thereunder, in each case

that the Debtors at any time had, now have or may have, or that their predecessors, successors or

assigns at any time had or hereafter can or may have against any of the Released Parties for or by

reason of any act, omission, matter, cause or thing whatsoever arising at any time on or prior to

the date of thisthe First Interim Order. For the avoidance of doubt, nothing in this release shall

relieve the DIP Lenders or the Debtors of their Obligations under the DIP Documents from and

after the date of thisthe First Interim Order.

        G.       Corporate Authority. Each Debtor has all requisite corporate power and authority

to execute and deliver the DIP Documents to which it is a party and to perform its obligations

thereunder.




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        H.       Findings Regarding the DIP Facility and Use of Cash Collateral.

                 (i)      The Debtors have an immediate and critical need to obtain the DIP

Facility and to use Cash Collateral (solely to the extent consistent with the Budget (subject to

Permitted Variances as set forth in this InterimFinal Order and the DIP Documents)) to, among

other things, (a) permit the orderly continuation of their businesses; (b) maintain business

relationships with vendors, suppliers, and customers; (c) make payroll; (d) fund expenses of the

Chapter 11 Cases; and (e) satisfy other working capital, operational, and general corporate needs.

The Debtors do not have sufficient sources of working capital and financing to operate their

businesses in the ordinary course throughout the Chapter 11 Cases without access to the DIP

Facility and authorized use of Cash Collateral. In the absence of the DIP Facility and the use of

Cash Collateral, the Debtors’ business and estates would suffer immediate and irreparable harm.

Access to the DIP Facility will provide the Debtors with sufficient working capital and liquidity

to operate during these Chapter 11 Cases and is vital to the preservation and maintenance of the

Debtors’ business and assets.

                 (ii)     The Debtors are unable to obtain financing on more favorable terms from

sources other than the DIP Lenders under the DIP Documents and are unable to obtain adequate

unsecured credit allowable under section 503(b)(1) of the Bankruptcy Code as an administrative

expense. The Debtors also are unable to obtain secured credit allowable under sections 364(c)(1),

364(c)(2), and 364(c)(3) of the Bankruptcy Code without granting to the DIP Secured Parties, the

DIP Liens and the DIP Superpriority Claims (each as defined herein), in each case subject to the

Carve-Out to the extent set forth herein, under the terms and conditions set forth in this

InterimFinal Order and the DIP Documents.

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                   (iii)    As a condition to entry into the DIP Documents, the extension of credit

under the DIP Facility, and authorization to use Cash Collateral, the Debtors, the DIP Secured

Parties, and the Foris Secured Prepetition Lenders have agreed that as of and commencing on the

date of the InterimFinal Hearing, the Debtors shall utilize the proceeds of the DIP Collateral in

accordance with this InterimFinal Order.

                   (iv)     The DIP Facility has been negotiated in good faith and at arm’s length

among the Debtors and the DIP Secured Parties, and all of the Debtors’ obligations and

indebtedness arising under, in respect of, or in connection with the DIP Facility and the DIP

Documents including, without limitation, all loans made to and guarantees issued by the Debtors

pursuant to the DIP Documents and all other obligations under the DIP Documents (collectively,

the “DIP Obligations”)7 shall be deemed to have been extended by the DIP Secured Parties in

good faith as that term is used in section 364(e) of the Bankruptcy Code and in express reliance

upon the protections offered by section 364(e) of the Bankruptcy Code. The DIP Obligations,

the DIP Liens, and the DIP Superpriority Claims shall be entitled to the full protection of section

364(e) of the Bankruptcy Code in the event that this InterimFinal Order or any provision hereof

is vacated, reversed, or modified on appeal or otherwise, and any liens or claims granted to, or

payments made to, or payments made to, the DIP Secured Parties hereunder arising prior to the


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    Notwithstanding anything to the contrary in this Final Order, the Interim Orders, or the DIP Credit Agreement,
    Clean Beauty Collaborative, Inc.’s and Clean Beauty 4U LLC’s (each a “Clean Beauty Subsidiary” and,
    collectively, the “Clean Beauty Subsidiaries”) DIP Obligations shall not exceed the principal amount of all
    Advances to each Clean Beauty Subsidiary, together with all interest on such Advances and all other obligations
    and liabilities of each Clean Beauty Subsidiary under this Final Order, the Interim Orders, or the DIP Credit
    Agreement related to such Advances; provided, further the maximum amount recoverable pursuant to the DIP
    Liens on each Clean Beauty Subsidiary’s Collateral granted under this Final Order, the Interim Orders, or the DIP
    Credit Agreement shall not exceed the such Clean Beauty Subsidiary’s DIP Obligations. Capitalized terms used in
    this footnote but not defined in this Final Order shall have the meanings given to such terms in the DIP Credit
    Agreement.
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effective date of any such vacatur, reversal, or modification of this InterimFinal Order shall be

governed in all respects by the original provisions of this InterimFinal Order, including

entitlement to all rights, remedies, privileges, and benefits granted herein.

                 (v)      ThePursuant to the Interim Orders, the Debtors have prepared and

delivered to the DIP Secured Parties anthe initial budget (the “Initial Budget”) covering the first

60 days of these Chapter 11 Cases, attached hereto as Exhibit B.                The Initial Budget

reflectsreflected, among other things, the anticipated sources and uses of cash for each calendar

week, in form and substance satisfactory to the DIP Secured Parties. The Initial Budget may be

modified, amended, and updated from time to time in accordance with the DIP Documents, and

once approved by the DIP Secured Parties, shall supplement and replace the Initial Budget (the

Initial Budget, and each subsequent approved budget, shall constitute without duplication, the

“Budget).     The Debtors believe that the Initial Budget is reasonable under the facts and

circumstances of these Chapter 11 Cases. The DIP Secured Parties are relying, in part, upon the

Debtors’ agreement to comply with the Budget, the DIP Documents, the Interim Orders, and this

InterimFinal Order in determining to enter into DIP Facility as provided for in this InterimFinal

Order.

                 (vi)     The Foris Prepetition Secured Lenders are entitled to the rights and

benefits of section 552(b) of the Bankruptcy Code and, subject to and upon entry of the Final

Order, the “equities of the case” exception under section 552(b) of the Bankruptcy Code shall not

apply to the Foris Prepetition Secured Lenders with respect to proceeds, product, offspring, or

profits with respect to any of the Prepetition Collateral.




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                 (vii)    In light of the financing made available under the DIP Facility to the

Debtors to fund the ongoing working capital requirements to operate and maintain their

businesses in the ordinary course and preserve value, the DIP Secured Parties and the Foris

Prepetition Secured Lenders are entitled to the benefit of a waiver of the rights of the Debtors

under section 506(c) of the Bankruptcy Code and the Debtors waive any right to surcharge the

DIP Collateral, and upon entry of the Final Order, to the extent provided therein, the Debtors

waive any rights to surcharge the Prepetition Collateral, in each case, pursuant to section 506(c)

of the Bankruptcy Code.

                 (viii) The DIP Secured Parties and the Foris Prepetition Secured Lenders are

entitled to the rights and benefits of section 363(k) of the Bankruptcy Code and, subject to and

upon entry of the Final Order, the DIP Secured Parties and the Foris Prepetition Secured Lenders

shall be entitled to credit bid their respective secured claims in connection with any sale of the

DIP Collateral.

        I.       Good Cause Shown; Best Interest. Good cause has been shown for entry of this

InterimFinal Order, and entry of this InterimFinal Order is in the best interests of the Debtors’

respective estates and creditors as its implementation will, among other things, allow for the

continued operation of the Debtors’ existing business and enhance the value of the Debtors’

estates and assets. Absent granting the relief sought by this Interim Order, the Debtors’ estates

will be immediately and irreparably harmed.

        J.       Immediate Entry. Sufficient cause exists for immediate entry of this InterimFinal

Order pursuant to Bankruptcy Rules 4001(b)(2), (c)(2), and 6003. Absent granting the relief set

forth in this InterimFinal Order, the Debtors’ estates will be immediately and irreparably harmed

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as they will have no ability to pay employees or suppliers, honor contractual obligations, or

otherwise maintain operations and thus would be forced to liquidate. Entry into the DIP Facility

and the use of Prepetition Collateral (including Cash Collateral), in accordance with this

InterimFinal Order and the DIP Documents are therefore in the best interests of the Debtors’

estates and consistent with the Debtors’ sound exercise of their fiduciary duties.

         Based upon the foregoing findings and conclusions, the Motion and the record before the

Court with respect to the Motion, and after due consideration and good and sufficient cause

appearing therefor,

         IT IS HEREBY ORDERED THAT:

         1.      DIP Facility Approved on InterimFinal Basis. The DIP Motion is granted as set

forth herein on an interima final basis, and the use of Cash Collateral on an interim basis is

authorized, subject to the terms of this InterimFinal Order.

         2.      Objections Overruled. Any objections, reservations of rights, or other statements

with respect to entry of the InterimFinal Order, to the extent not withdrawn or resolved, are

overruled on the merits. This InterimFinal Order shall become effective immediately upon its

entry.

         3.      Authorization of the DIP Facility and the DIP Documents.

                 (a)      The Debtors are hereby immediately authorized and empowered to

execute, deliver, enter into, and perform all of their obligations under the DIP Documents, and

such additional documents, instruments, certificates and agreements as may be reasonably

required or requested by the DIP Secured Parties to implement the terms or effectuate the

purposes of this InterimFinal Order and the DIP Documents. In addition, the Debtors are

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authorized and empowered to cause the non-Debtor subsidiaries to enter into any DIP

Documents. To the extent not entered into as of the date hereof, the Debtors and the DIP

Secured Parties shall negotiate the DIP Documents in good faith, and in all respects such DIP

Documents shall be, subject to the terms of this Interim Order and the Final Order, consistent

with the terms of the DIP Credit Agreement and otherwise acceptable to the DIP Secured Parties.

Upon entry of this InterimFinal Order, the InterimFinal Order, the DIP Credit Agreement, and

other DIP Documents shall govern and control the DIP Facility. Upon entry of this InterimFinal

Order and until execution and delivery of all DIP Documents required by the DIP Secured

Parties, the Debtors and the DIP Secured Parties shall be bound by this InterimFinal Order and

all executed DIP Documents shall govern and control the DIP Facility. The DIP Secured Parties

are hereby authorized to execute and enter into its respective obligations under the DIP

Documents, subject to the terms and conditions set forth therein, and in the Interim Orders and

this InterimFinal Order.         Upon execution and delivery thereof, the DIP Documents shall

constitute valid and binding obligations of the Debtors enforceable in accordance with their

terms. To the extent there exists any conflict among the terms and conditions of the DIP Motion,

the DIP Documents, the Interim Orders, and this InterimFinal Order, the terms and conditions of

this InterimFinal Order shall govern and control. To the extent there is a conflict between the

terms and conditions of the DIP Motion and the DIP Documents, the terms and conditions of the

DIP Documents shall govern.

                 (b)      Upon entry of this InterimFinal Order, the Borrowers are hereby

authorized to borrow, and the Guarantors are hereby authorized to guaranty, borrowings up to an

aggregate principal amount of the Initial Borrowings and Subsequent Borrowings in DIP Loans,

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subject to the terms of the DIP Credit Agreement and in accordance with this InterimFinal Order.

                 (c)      In accordance with the terms of this Final Order, the Interim Order and the

DIP Documents, proceeds of the DIP Loans shall be used solely for the purposes permitted under

the DIP Documents and this Final Order, the Interim OrderOrders, and in accordance with the

Budget (subject to Permitted Variances as set forth in this InterimFinal Order and the DIP

Documents).

                 (d)      In furtherance of the foregoing and without further approval of this Court,

each Debtor is authorized, and the Automatic Stay imposed by section 362 of the Bankruptcy

Code is hereby lifted to the extent necessary to allow each Debtor, to perform all acts and to

make, execute, and deliver all instruments and documents (including, without limitation, the DIP

Credit Agreement, any security and pledge agreement, and any mortgage to the extent

contemplated thereby, or the DIP Credit Agreement), and, subject to the Carve-Out, to pay on the

DIP Termination Date (as defined in the DIP Credit Agreement) all fees (including all amounts

owed to the DIP Lenders and the DIP Agent under the DIP Documents), that may be reasonably

required or necessary for the Debtors’ performance of their obligations under the DIP Facility

including, without limitation:

                           (1)     the execution, delivery, and performance of the DIP Documents,

                          including, without limitation, the DIP Credit Agreement, any security and

                          pledge agreement, and any mortgage to the extent contemplated thereby;

                           (2)     the execution, delivery, and performance of one or more

                          amendments, waivers, consents, or other modifications to and under the

                          DIP Documents (in each case in accordance with the terms of the

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                          applicable DIP Documents and in such form as the Debtors and the DIP

                          Secured Parties may agree), it being understood that no further approval of

                          the Court shall be required for amendments, waivers, consents, or other

                          modifications to and under the DIP Documents or the DIP Obligations that

                          do not shorten the maturity of the extensions of credit thereunder or

                          modify the commitments or the rate of interest or other amounts payable

                          thereunder; provided that counsel to the Committee shall be promptly

                          provided with a copy (which shall be provided through electronic mail) of

                          any amendment, waiver, consent, or other modification; provided, further

                          that counsel to the Committee shall be entitled to five (5) business days’

                          advance notice of an amendment, modification, or supplement to the DIP

                          Documents that materially or adversely affects the rights of the Committee

                          or unsecured creditors under the DIP Documents (but not any waiver

                          provided by the DIP Secured Parties), and the Committee shall have an

                          opportunity to object in writing after which approval of the Court (which

                          may be sought on an expedited basis) will be necessary to effectuate any

                          amendment, modification, or supplement to the DIP Documents that

                          materially or adversely affects the rights of the Committee or unsecured

                          creditors under the DIP Documents;

                           (3)     the non-refundable payment as of the DIP Termination Date to

                          each of and/or on behalf of the DIP Secured Parties, as applicable, of the




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                          fees referred to in the DIP Documents, including all fees and other

                          amounts owed to the DIP Agent and the DIP Lenders; and

                           (4)     the performance of all other acts required under or in connection

                          with the DIP Documents.

                 (e)      Upon entry of this InterimFinal Order, the DIP Lenders shall have the right

to sell, assign, or otherwise transfer any interest in the DIP Facility, or any of the obligations

thereunder, or any portion thereof, and to syndicate the DIP Loans (or any portion thereof), to

any person or persons selected by each DIP Lender in its sole discretion and subject to the terms

of the DIP Credit Agreement.

                 (f)      Without the prior written consent of the DIP Lender, the Borrowers shall

not sell, transfer, lease, encumber or otherwise dispose of any portion of the DIP Collateral or

interest in the DIP Facility, except as may be expressly permitted by the DIP Documents and this

InterimFinal Order.

                 (g)      The Guarantors hereby are authorized and directed to jointly, severally,

and unconditionally guarantee, and upon entry of this InterimFinal Order shall be deemed to

have guaranteed, in full, all of the DIP Obligations of the Borrowers.

                 (h)      DIP Obligations.     Upon entry of thisthe First Interim Order and the

execution of the DIP Documents, the DIP Obligations and the DIP Liens shall constitute valid,

binding, and non-avoidable obligations of the Borrowers and Guarantors, enforceable against the

Borrowers or Guarantors or their estates in accordance with the terms of the DIP Documents and

this InterimFinal Order, and any successors thereto, including andany trustee appointed in the

Chapter 11 Cases, or in any case under chapter 7 of the Bankruptcy Code upon conversion of any

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of the Chapter 11 Cases, or in any other proceedings superseding or related to any of the

foregoing (collectively, the “Successor Cases”).       Upon execution and delivery of the DIP

Documents, the DIP Obligations will include all loans and any other indebtedness or obligations,

contingent or absolute, which may now or from time to time be owing by any of the Borrowers

or Guarantors to any of the DIP Secured Parties under, or secured by, the DIP Documents, or the

Interim Orders or this InterimFinal Order, including all principal, interest, costs, fees, expenses,

premiums, indemnities and other amounts under the DIP Documents. No obligation, payment,

transfer, or grant of security under the DIP Credit Agreement, the other DIP Documents, the

Interim Orders, or this InterimFinal Order to the DIP Secured Parties shall be stayed, restrained,

voidable, avoidable, or recoverable under the Bankruptcy Code or under any applicable law

(including without limitation, under sections 502(d), 548, or 549 of the Bankruptcy Code or

under any applicable state Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance

Act, or similar statute or common law), or subject to any defense, reduction, setoff, recoupment,

or counterclaim. All DIP Obligations shall be allowed claims against the Debtors’ estates

without the need to file a proof of claim.

        4.       Budget and Variance Reporting.

                 (a)      The Initial Budget, covering the first 60 days of these Chapter 11 Cases,

was approved pursuant to the Interim Orders. An updated plan scenario Budget (the “Plan

Budget”) and an updated sale scenario budget (the “Sale Budget,” and together with the Plan

Budget, and each subsequent approved Plan Budget or approved Sale Budget, shall constitute,

without duplication, the “Budget”) annexed hereto as Exhibit A-1 and A-2, respectively, are

hereby approved. The Plan Budget, or any updated and approved Plan Budget, shall be the

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controlling budget in these Chapter 11 Cases after entry of this Final Order until a Sale Toggle

Event Notice is issued; provided that if a Sale Toggle Event Notice is issued, the Sale Budget, or

any updated and approved Sale Budget shall be the controlling budget in these Chapter 11 Cases.

Any modification to, or amendment or update to the Budget (and any other subsequent updated

Budget) shall be in form and substance acceptable to and approved in writing (email being

sufficient) by the DIP Agent in its sole discretion. A copy of any modification to, or amendment

or update to the Budget shall be provided to the Committee. There shall be no changes to the

line items in the Budget for the fees and expenses of the Committee Professionals (as defined

herein) without the express written consent (email being sufficient) of counsel to the Committee.

                 (b)      (a) The Initial Budget, covering the first 60 days of these Chapter 11

Cases, shall be approved pursuant to this Interim Order. The Debtors shall thereafter prepare an

updated Budget which shall be approved pursuant to the Final Order. By 5:00 p.m. Pacific Time

on the date that is two weeks after the date the Final Order approving the updated Budget is

entered (or such date as mutually agreed in writing (email being sufficient) by the Debtors and

DIP Secured Parties), and every two weeks thereafter, the Debtors shall prepare and provide the

DIP Secured Parties with an updated Budget. The DIP Agent, in its reasonable discretion, shall

have the right to approve or object to any such updated Budget by providing the Borrowers

specific notice thereof within three (3) business days after the delivery by the Borrowers of any

such update or amendment (“Updated Budget Notice Deadline”). To the extent the DIP Agent

objects to the updated Budget by the Updated Budget Notice Deadline, the then existing Budget

shall continue to constitute the applicable Budget until such time as an update or amendment is

approved by the DIP Agent. Once an updated Budget has been approved by the DIP Agent, the

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Debtors shall promptly share such updated Budget with the Committee.

                          (c)      (b) By 5:00 p.m. Pacific Time on August 16, 2023, and then onthe

first Wednesday ofafter entry of this Final Order and every weekWednesday thereafter, the

Debtors shall deliver to the DIP Agent and the Committee a Budget variance report and

reconciliation (the “Approved Budget Variance Report”) comparingutilizing the Budget then in

effect (and to the extent the applicable Measuring Period so requires, utilizing the immediately

prior Budget previously in effect). The Approved Budget Variance Report shall compare on a

line item by line item basis: (x) total receipts for such period to total receipts for such period as

set forth in the Budget on a weekly and cumulative basis; (y) total disbursements for such period

to total disbursements for such period as set forth in the Budget on a weekly and cumulative

basis; together with a statement certifying compliance with the Permitted Variances (as defined

herein) for such period (each a “Measuring Period”) and explaining in reasonable detail any

Material Variance (as defined herein) (each such report, a “Variance Report,” which shall be in a

form satisfactory to the DIP Agent). For purposes of each Measuring Period, the Borrowers shall

calculate on a line item by line item basis: (x) the numerical difference between total receipts for

such period to total receipts for such period as set forth in the Budget for the then applicable

week and on a cumulative basis (the “Receipts Variance”), and the percentage such Receipts

Variance (as an absolute amount) is of the applicable week and cumulative basis budgeted

amount for receipts for such Measuring Period (the “Receipts Variance Percentage”) and (y) the

numerical amount by which total disbursements for such Measuring Period are greater than total

disbursements, respectively, on a line item by line item basis, for such Measuring Period as set

out in the Budget for the then applicable week and on a cumulative basis for such Measuring

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Period (the “Disbursements Variance”), and the percentage such Disbursements Variance (as an

absolute amount) is of the applicable week and cumulative budgeted amount for disbursements

for such Measuring Period (the “Disbursements Variance Percentage”). For purposes of this

InterimFinal Order, (w) “receipts” shall not include any Initial Borrowing or Subsequent

Borrowing under the DIP Facility or any proceeds from the sale of DIP Collateral; (x) the

calculation of the Disbursements Variance shall exclude any amounts in the Budget related to

professional fees for the Debtors and the Committee, which, at all times, for purposes of any

Initial Borrowing or Subsequent Borrowing under the DIP Facility, shall not exceed amounts set

forth in the then approved Budget, (y) a “Material Variance” shall mean on a line item by line

item basis with respect to each Measuring Period either (i) a Receipts Variance Percentage

greater than 15% or (ii) a Disbursements Variance Percentage greater than 10%, and (z)

“Permitted Variance” shall mean on a line item by line item basis with respect to each Measuring

Period: (i) if the Receipts Variance is a negative number, the Receipts Variance Percentage shall

not be greater than 25% measured on a four (4) week cumulative basis and (ii) if the

Disbursements Variance is a positive number, the Disbursements Variance Percentage shall not

be greater than (A) 20% measured on a two (2) week and cumulative basis and (B) 15%

measured on a four (4) week and cumulative basis. For purposes hereof, “line item by line item”

shall mean each line of the Budget (excluding any amounts in the Budget related to professional

fees for the Debtors and the Committee); provided, however, for line items labeled “Other AP

Disbursements”, “InterCo disbursements for Goods”, and “InterCo Loan”, “line item by line

item” shall be with references to the line items set forth in the supporting schedules provided to

the DIP Secured Parties and the Committee in connection with the Budget.

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        5.       Access to Records. The Debtors shall provide the advisors to the DIP Secured

Parties with all reporting and other information required to be provided to the DIP Agent or DIP

Lenders under the DIP Documents. Any reporting and other information provided pursuant to

this Paragraph 5 shall also be contemporaneously provided (or as contemporaneous as is

reasonable under the circumstances) to advisors to the Committee; provided that all such

reporting may be shared by the Committee’s advisors with the members of the Committee

(subject to any applicable confidentiality agreements or arrangements) unless such reporting

provided to the Committee’s advisors is specifically classified as for “professional eyes only.” In

addition to, and without limiting, whatever rights to access the DIP Secured Parties have under

the DIP Documents, upon reasonable notice to Debtors’ counsel (email being sufficient), the

Debtors shall permit representatives, agents, and employees of the DIP Secured Parties to have

reasonable access to (i) inspect the Debtors’ assets, and (ii) all information (including historical

information and the Debtors’ books and records) and personnel, including regularly scheduled

meetings as mutually agreed with senior management of the Debtors and other company advisors

(during normal business hours), and the DIP Secured Parties shall be provided with access to all

information they shall reasonably request, excluding any information for which confidentiality is

owed to third parties, information subject to attorney client or similar privilege, or where such

disclosure would not be permitted by any applicable requirements of law.

        6.       Carve-Out.

                 (a)      Priority of Carve-Out. Subject to the terms and conditions contained in

this Paragraph 6, each of the DIP Liens, DIP Superpriority Claims, Foris Liens, Foris Prepetition

Obligations, Adequate Protection Liens, and Adequate Protection Superpriority Claims shall be

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subject and subordinate to payment of the Carve-Out. The Carve-Out shall have such priority

over all assets of the Debtors, including any DIP Collateral, Prepetition Collateral, and any funds

in the account into which the DIP Loans are funded. The Carve-Out shall not reduce or affect in

any respect the obligations owing to the DIP Secured Parties or the Foris Prepetition Secured

Lenders.

                  (b)      Definition of Carve-Out. As used in this InterimFinal Order, the

“Carve-Out” means the sum of (i) all fees required to be paid to the Clerk of the Court and to the

U.S. Trustee under section 1930(a) of title 28 of the United States Code plus interest at the

statutory rate (without regard to the notice set forth in (iv) below); (ii) all reasonable fees and

expenses up to $100,000 incurred by a trustee under section 726(b) of the Bankruptcy Code

(without regard to the notice set forth in (iii) below); (iii) all obligations due and owing under

any key employee incentive plan and retention plan consistent with the Budget, consented to by

the DIP Agent, and approved by the Bankruptcy Court; (iv) to the extent allowed at any time,

whether by interim order, procedural order, or otherwise, and whether allowed before or after

delivery of a Trigger Notice, all unpaid fees and expenses (the “Allowed Professional Fees”)

incurred by (x) persons or firms retained by the Debtors pursuant to section 327, 328, or 363 of

the Bankruptcy Code, including any Transaction Fee consistent with the engagement letter

entered into between the Debtors and the Debtors’ investment banker, Intrepid Investment

Bankers LLC, and approved by the Bankruptcy Court with the support of the DIP Agent (the

“Debtors’ Professionals”) and, (y) White & Case LLP, Potter Anderson & Corroon LLP, and FTI

Consulting, Inc., as advisors to the Committee, as retained pursuant to sectionsections 328 , 330

and/or 1103 of the Bankruptcy Code (the “CommitteesCommittee’s Professionals”8 and, together
8
    The Committee intends to engage Jefferies & Company (“Jefferies”) as investment banker under section 1103 of
    the Bankruptcy Code. The Debtors’, the DIP Lenders’ and the Foris Prepetition Secured Parties’ rights to object
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with the Debtors’ Professionals, the “Professional Persons”), but subject to theand (z) persons or

firms retained by the ad hoc group of the holders of the 1.50% Convertible Senior Notes due

2026 pursuant to the Amended Order Authorizing the Debtors to Assume and/or Enter Into

Reimbursement Agreements with Professionals for the Ad Hoc Noteholder Group (the

“Noteholder Group Professionals’ Order” and the professional persons’ thereunder, the “Ad Hoc

Noteholder Group’s Professionals”), subject to the Noteholder Group Professional Cap as

defined in the Noteholder Group Professionals’ Order and all other terms and conditions of the

Noteholder Group Professionals’ Order, and subject to the then Budget for each Professional

Person, as approved by the DIP Agent, for the period of time from the Petition Date to the earlier

of the date of a Trigger Notice or the occurrence of any other DIP Termination Date; provided

that with respect to clause (iv) of this Paragraph 6(b), notwithstanding the fact that the Budget

for the Committee’s Professionals currently equals $3.3 million (the “Committee Budget

Amount”), the Carve-Out with respect to the Committee’s Professionals shall be $7.2 million

(the “Committee Carve-Out Amount”); and (v) Allowed Professional Fees of the Debtors

Professionals and Committee ProfessionalsProfessional Persons in an amount not to exceed

$750,000 incurred after the earlier of delivery of a Trigger Notice or the occurrence of any other

DIP Termination Date (other than pursuant to clause (ii) of the definition of “DIP Termination




   the Bankruptcy Code. The Debtors’, the DIP Lenders’ and the Foris Prepetition Secured Parties’ rights to object
   to the retention of Jefferies and any fees or expenses sought by Jefferies in connection with its proposed
   engagement by the Committee are reserved and preserved in all respects. Nothing in this Final Order shall limit,
   modify, or in any way affect any of the Committee’s rights to seek to modify the Carve Out, or to seek payment
   (under the Carve Out or otherwise), with respect to fees and expenses of Jefferies to the extent the Committee is
   authorized to retain Jefferies in these Chapter 11 Cases and any such fees and expenses of Jefferies are
   authorized or approved by the Court, and such rights of the Committee are fully reserved and preserved in all
   respects, and the rights of the Debtors’, the DIP Lenders’ and the Foris Prepetition Secured Parties’ to object to
   any such modification, authorization, approval or payment are fully reserved and preserved in all respects.
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Date” in the DIP Credit Agreement) (this clause (v), the “Carve-Out Cap”), less the amount of

any prepetition retainers received by such Professional Persons and not previously returned or

applied to Allowed Professionals Fees; provided, however, nothing herein shall be construed to

impair any party’s ability to object to court approval of the fees, expenses, reimbursement of

expenses or compensation of the Debtors’ Professionals or, the Committees’ Professionals, and

Ad Hoc Noteholder Group’s Professionals. For purposes of this Paragraph 6, “Trigger Notice”

shall mean a written notice delivered by the DIP Agent to the U.S. Trustee and counsel to the

Debtors and Committee describing the Event of Default that is alleged to continue under the DIP

Documents (or after the payment in full of the DIP Obligations, delivered by the Prepetition

Lenders under the Foris Prepetition Secured Loan Agreements describing the reason for

termination of the use of Cash Collateral).

                 (c)      Carve-Out Account. On the day on which a Trigger Notice is given by the

DIP Agent or on the DIP Termination Date, and prior to (and not conditioned upon, or subject to

any delay on account of) the payment to any of the DIP Agent, DIP Lenders or the Foris

Prepetition Secured Lenders on account of the DIP Obligations, the Foris Prepetition

Obligations, any Adequate Protection Obligations (as defined herein), claims or liens, or

otherwise, the Debtors shall immediately, and be authorized and required to, deposit, as soon as

reasonably practicable, in a non-interest bearing trust fund account of the Debtors’ general

bankruptcy counsel for the benefit of Professional Persons not subject to the control of the DIP

Agent, DIP Lenders or the Foris Prepetition Secured Lenders (the “Carve-Out Account”), an

amount equal to the Carve-Out Cap. If any amounts remain in the Carve-Out Account after

payment of Professional Persons in accordance with the Carve-Out (subject to the Budget or, in

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the case of the Committee’s Professionals, the Committee Carve-Out Amount (subject to the

Liquidity Condition (as defined below))), such amounts shall be returned to the DIP Agent and

shall be subject to the DIP Liens and Adequate Protection Liens; provided that to the extent the

DIP Loans are indefeasibly paid in full at the time such amounts are to be returned, such amounts

shall be returned to the Foris Prepetition Secured Lenders. Prior to the date of delivery of a

Trigger Notice or the occurrence of the DIP Termination Date, the Debtors shall be authorized to

make weekly deposits into the Carve-Out Account in accordance with the Budget (which, for the

avoidance of doubt, in the case of the Committee Professionals, is the Committee Budget

Amount, subject to clause (e) below). Funds which are on deposit in the Carve-Out Account

shall be available only to satisfy obligations benefitting from the Carve-Out, and the DIP Agent,

DIP Lenders and the Foris Prepetition Secured Lenders, each on behalf of itself and the relevant

secured parties, (i) shall not sweep or foreclose on cash of the Debtors necessary to fund the

Carve-Out Account, (ii) shall subordinate their security interests and liens in the Carve-Out

Account to the payment of the Allowed Professional Fees in accordance with the Carve-Out and

the Carve-Out Cap, and shall only have a security interest upon, and shall only have a right of

enforcement against, any residual interest in the Carve-Out Account available following

satisfaction in full in cash of all obligations benefitting from the Carve-Out Account; and (iii)

waive, and agree not to assert, any right of disgorgement with respect to the payment of the

Allowed Professional Fees. Further, notwithstanding anything to the contrary in this Final Order

or the Interim Orders, (i) disbursements by the Debtors from the Carve-Out Account shall not

constitute Advances (as defined in the DIP Credit Agreement) or increase the DIP Term Loan

Obligations, (ii) the failure of the Carve-Out Account to satisfy in full the Allowed Professional

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Fees shall not affect the priority of the Carve Out, and (iii) in no way shall the Budget,

Carve-Out, Carve-Out Cap, the Liquidity Condition, Committee Carve-Out Amount or

Committee Budget Amount, or any of the foregoing be construed as a cap or limitation on the

amount of the Allowed Professional Fees due and payable by the Debtors.

                 (d)      Trust Fund Amounts. Notwithstanding the delivery and effectiveness of a

Trigger Notice, the Debtors shall be entitled to use Cash Collateral to pay payroll expenses that

have accrued through the date of the Trigger Notice and trust fund taxes that have accrued

through the date of the Trigger Notice, each in an amount included in the Budget through the

date of the Trigger Notice but which such amounts remain unpaid (the “Trust Fund Amounts”).

                 (e)      Compensation and Reimbursement of Expenses. Notwithstanding the

foregoing, so long as no Carve-Out Trigger Notice has been issued by the DIP Agent, the

Borrowers shall be permitted to pay compensation and reimbursement of expenses Allowed and

payable under sections 330 and 331 of the Bankruptcy Code but solely to the extent such

amounts are incurred in accordance with and provideprovided for in the Budget (or, in the case

of the Committee’s Professionals, the Committee Carve-Out Amount (subject to the Liquidity

Condition)), as the same may be due and payable and otherwise allowed and payable by order of

the Bankruptcy Court, and the same shall not reduce the Carve-Out amount; provided that with

respect to such allowed compensation or reimbursement of expenses of the Committee’s

Professionals up to and including the Committee Carve-Out Amount but in excess of the

Committee Budget Amount, prior to the earlier of the issuance of a Carve-Out Trigger Notice or

the occurrence of a DIP Termination Event, such amounts shall be payable (and may be

deposited into the Carve-Out Account) solely to the extent the Debtors receive or recover funds

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or proceeds from any non-recurring source not in the Budget as of the date of this Final Order

(for example, but not limited to, any settlement, asset sale, insurance recovery) or the Debtors

receive receipts under the Budget in excess of the amounts set forth in the Budget to the extent

all receipts exceed actual disbursements; provided further that if the Debtors require some or all

of the liquidity generated by such non-recurring event or excess amounts to fund the Debtors’

operation, the Debtors may, in their reasonable discretion, determine at such time not to fund

into the Carve-Out Account such compensation or reimbursement of expenses of the

Committee’s Professionals in excess of the Committee Budget Amount, subject in all respects to

the rights of all parties, including the Committee, the DIP Lender and the Foris Prepetition

Secured Lenders to contest (or support) the Debtors’ decision on any basis (the foregoing

provisos in this clause (e), collectively, the “Liquidity Condition”). Notwithstanding anything to

the contrary herein, the Liquidity Condition shall not in any way affect the priority of, or

constitute a cap or limitation on, the Carve-Out in respect of the Committee’s Professionals up to

the Committee Carve-Out Amount.

                 (f)      Payment of Allowed Professional Fees. For the avoidance of doubt, the

Carve-Out shall be secured by a senior perfected first lien on the DIP Collateral in favor of the

Professional Persons up to the amount to which each such Professional Person is entitled under

the Budget (or, in the case of the Committee’s Professionals, the Committee Carve-Out Amount)

and the Carve-Out Cap, including the Carve-Out Account, and the DIP Agent, DIP Lenders, and

the Foris Prepetition Secured Lenders shall have no right to seek disgorgement of any Allowed

Professional Fees paid and allowed by a final order, provided, however, that, in connection with

the determination by the Bankruptcy Court of the Allowed Professional Fees, the DIP Agent,

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DIP Lenders and Foris Prepetition Secured Lenders agree that they will not challenge such

allowance (or seek disgorgement) on account of any administrative claim, or super-priority

claim, they may have or assert; provided, further, that all rights of the DIP Agent, DIP Lenders,

and the Foris Prepetition Secured Lenders are expressly reserved with respect to the

reasonableness and allowance of any fees and expenses of any Professional Person incurred in

connection with the Chapter 11 Cases or any Successor Cases under any chapter of the

Bankruptcy Code.

                 (g)      No Direct Obligation To Pay Allowed Professional Fees. None of the DIP

Agent, DIP Lenders, or the Foris Prepetition Secured Lenders shall be responsible for the

payment or reimbursement of any fees or disbursements of any Professional Person incurred in

connection with the Chapter 11 Cases or any Successor Cases under any chapter of the

Bankruptcy Code. Nothing in this Final Order, the Interim OrderOrders or otherwise shall be

construed to obligate the DIP Agent, the DIP Lenders, or the Foris Prepetition Secured Lenders,

in any way, to pay compensation to, or to reimburse expenses of, any Professional Person or to

guarantee that the Debtors have sufficient funds to pay such compensation or reimbursement.

        7.       DIP Superpriority Claims. Pursuant to, and to the extent provided by, section

364(c)(1) of the Bankruptcy Code, but subject to the Carve-Out, all of the DIP Obligations shall

constitute allowed superpriority administrative expense claims against each of the Debtors’

estates (the “DIP Superpriority Claims”) (without the need to file any proof of claim) with

priority over any and all administrative expenses, Adequate Protection Claims, diminution

claims, and all other claims against the Debtors, now existing or hereafter arising, of any kind

whatsoever, including, without limitation, all administrative expenses of the kind specified in

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sections 503(b) and 507(b) of the Bankruptcy Code, and over any and all administrative expenses

or other claims arising under sections 105, 326, 327, 328, 330, 331, 361, 362, 363, 364, 365,

503(b), 506(c), 507(a), 507(b), 726, 1113, or 1114 of the Bankruptcy Code or otherwise, which

allowed claims shall for the purposes of section 1129(a)(9)(A) of the Bankruptcy Code be

considered administrative expenses allowed under section 503(b) of the Bankruptcy Code and

which shall be payable from and have recourse to all prepetition and postpetition property of the

Debtors and all proceeds thereof, including, without limitation, subject to entry of the Final

Order, to the extent provided therein, any proceeds or property recovered in connection with the

pursuit of claims or causes of action arising under chapter 5 of the Bankruptcy Code (the

“Avoidance Actions Proceeds”), subject only to the payment of the Carve-Out. Except as set

forth in this InterimFinal Order or the Final OrderInterim Orders, no other superpriority claims

shall be granted or allowed in these Chapter 11 Cases.

        8.       DIP Liens. As security for the DIP Obligations, effective and perfected upon the

date of this InterimFinal Order, and without the necessity of the execution, recordation of filings

by the Debtors of mortgages, security agreements, control agreements, pledge agreements,

financing statements, or other similar documents, or the possession or control by the DIP Agent

or any DIP Lenders of, or over, any DIP Collateral, the following security interests and liens are

hereby granted by the Debtors to the DIP Agent, for the benefit of the DIP Secured Parties,

subject to (x) the Permitted Liens (as defined in the DIP Credit Agreement) and (y) the

Carve-Out (all such liens and security interests granted to the DIP Agent, for the benefit of the

DIP Lenders, pursuant to this InterimFinal Order and the DIP Documents, the “DIP Liens”):

                 (a)      First Priority Lien on Unencumbered Property. Pursuant to section

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364(c)(2) of the Bankruptcy Code, a valid, binding, continuing, enforceable, non-avoidable,

automatically and properly perfected, first priority security interest in and lien upon all tangible

and intangible prepetition and postpetition property of the Debtors, whether existing on the

Petition Date or thereafter acquired, and the proceeds, products, rents, and profits thereof, that,

on or as of the Petition Date, is not subject to (i) a valid, perfected and non-avoidable lien or (ii)

a valid and non-avoidable lien in existence as of the Petition Date that is perfected subsequent

to the Petition Date as permitted by section 546(b) of the Bankruptcy Code, including, without

limitation, any and all unencumbered cash of the Debtors and any investment of cash,

inventory, accounts receivable, other rights to payment whether arising before or after the

Petition Date, contracts, properties, plants, fixtures, machinery, equipment, general intangibles,

documents, instruments, securities, goodwill, causes of action, insurance policies and rights,

claims and proceeds from insurance, commercial tort claims and claims that may constitute

commercial tort claims (known and unknown), chattel paper (including electronic chattel paper

and tangible chattel paper), interests in leaseholds, real properties, deposit accounts, patents,

copyrights, trademarks, trade names, rights under license agreements and other intellectual

property, equity interests of subsidiaries, joint ventures and other entities, wherever located, and

the proceeds, products, rents and profits of the foregoing, whether arising under section 552(b)

of the Bankruptcy Code or otherwise (the “Prepetition Unencumbered Collateral”), in each case

other than the Avoidance Actions Proceeds (but, for the avoidance of doubt, subject to entry of

the Final Order, to the extent provided therein, the Prepetition Unencumbered Collateral shall

include the Avoidance Actions Proceeds).

                 (b)      Liens Priming the Foris Liens. Pursuant to section 364(d)(1) of the

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Bankruptcy Code, a valid, binding, continuing, enforceable, non-avoidable, automatically and

properly perfected, first priority priming security interest in and lien upon the Prepetition

Collateral, including, without limitation, all tangible and intangible prepetition and postpetition

property of the Debtors subject to the Foris Liens, regardless of where located, regardless of

whether or not any liens on such assets are voided, avoided, invalidated, lapsed, or unperfected

(the “Priming Liens”), which Priming Liens shall prime in all respects the interests of the Foris

Prepetition Secured Lenders arising from the current and future liens of the Foris Prepetition

Secured Lenders (the “Primed Liens”). The Foris Prepetition Secured Lenders have consented

to the Primed Liens being primed. For the avoidance of doubt, the Primed Liens not only

include the liens of the Foris Prepetition Secured Lenders but also include, and the Priming

Liens are senior to, any liens of Lavvan, Inc. (“Lavvan”) as a matter of contract pursuant to that

certain subordination agreement, by and between Foris and Lavvan, dated as of May 2, 2019

(the “Subordination Agreement”), through and under which Lavvan consented to the

subordination of its liens and claims (the “Lavvan Liens”) prior to the indefeasible payment in

full of all obligations owing to Foris as set forth in the Subordination Agreement. Nothing

contained in this InterimFinal Order or the DIP Documents authorizes the non-consensual

priming of any properly perfected first priority security interest in and lien upon any of the

Debtors’ collateral. In addition, to clarify the language of section 7.25 of the DIP Credit

Agreement, to the extent that any of the Debtors’ collateral is sold during these chapter 11

cases, the distribution of proceeds from the sale of such collateral will be in accordance with the

relative lien priority of any properly perfected security interests in and liens upon such

collateral.

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                 (c)      Liens Junior to Certain Other Liens. Pursuant to section 364(c)(3) of the

Bankruptcy Code, a valid, binding, continuing, enforceable, non-avoidable, automatically and

properly perfected, security interest in and lien upon all tangible and intangible prepetition and

postpetition property of the Debtors that is subject to (i) valid, perfected and non-avoidable

senior liens in existence immediately prior to the Petition Date (other than the Primed Liens) or

(ii) valid and non-avoidable senior liens (other than the Primed Liens) in existence immediately

prior to the Petition Date that are perfected subsequent to the Petition Date, as permitted by

section 546(b) of the Bankruptcy Code (the “Other Encumbered Prepetition Collateral”), which

shall be (x) immediately junior and subordinate to any valid, perfected and non-avoidable liens

(other than the Primed Liens) in existence immediately prior to the Petition Date, and (y) any

such valid and non-avoidable liens in existence immediately prior to the Petition Date that are

perfected subsequent to the Petition Date as permitted by section 546(b) of the Bankruptcy Code;

provided that nothing in the foregoing clauses (i) and (ii) shall limit the rights of the DIP Secured

Parties under the DIP Documents to the extent such liens are not permitted thereunder. For the

avoidance of doubt, the DIP Liens shall be junior and subordinate to any properly perfected first

priority security interest in and lien upon any Other Encumbered Prepetition Collateral arising

under that certain Loan and Security Agreement dated as of October 11, 2022, as amended and

restated by that certain Amendment and Restatement Agreement dated as of December 12, 2022

(as further amended, restated, supplemented or otherwise modified from time to time, the “DSM

LSA”), by and among Amyris, certain subsidiaries thereof as guarantors, and DSM Finance B.V.

(“DSM”); and. For the avoidance of doubt, the collateral to which the Lavvan Liens attach is not

Other Encumbered Prepetition Collateral under this Final Order because the Lavvan Liens are

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junior and subordinate to the liens of Foris pursuant to the Subordination Agreement.

                 (d)      Liens Senior to Certain Other Liens. The DIP Liens shall not be (i) subject

or subordinate to or made pari passu with (A) any lien or security interest that is avoided and

preserved for the benefit of the Debtors or their estates under section 551 of the Bankruptcy

Code, (B) unless otherwise provided for in the DIP Documents or in this InterimFinal Order, any

liens or security interests arising after the Petition Date, including, without limitation, any liens

or security interests granted in favor of any federal, state, municipal or other governmental unit

(including any regulatory body), commission, board or court for any liability of the DIP Secured

Parties, or (C) any intercompany or affiliate liens of the Debtors or its non-Debtor affiliates or

security interests of the Debtors; or (ii) subordinated to or made pari passu with any other lien or

security interest under section 363 or 364 of the Bankruptcy Code granted after the date hereof.

        9.       Adequate Protection for the Foris Prepetition Secured Lenders. The Foris

Prepetition Secured Lenders are entitled, pursuant to sections 361, 363(e) and 364(d)(1) of the

Bankruptcy Code, to adequate protection of their interests in all Prepetition Collateral (including

Cash Collateral) in an amount equal to the aggregate diminution in the value as of the Petition

Date of theirForis Prepetition Secured Lenders’ interests in the Prepetition Collateral (including

Cash Collateral) from and after the Petition Date, which diminution is as athe result of, or arises

from, or is attributable to, the sale, lease or use by the Debtors of the Prepetition Collateral, the

priming of the Foris Liens by the DIP Liens pursuant to the DIP Documents and this InterimFinal

Order, the grant of any other priming lien under section 364 of the Bankruptcy Code or, the stay

of the Foris Prepetition Secured Lenders’ rights under the Prepetition Collateral, the payment of

any amounts under the Carve-Out or pursuant to thisthe Interim Order, thethis Final Order or any

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other order of the Court or provision of the Bankruptcy Code or otherwise, and the imposition of

the Automatic Stay (“Adequate Protection” and the resulting claims, “Adequate Protection

Claims”). In consideration of the foregoing, the Foris Prepetition Secured Lenders are hereby

granted the following as Adequate Protection for, and to secure repayment of an amount equal to

such Adequate Protection Claims, and as an inducement to the Foris Prepetition Secured Lenders

to consent to the priming of the Foris Liens and use of the Prepetition Collateral (including Cash

Collateral) (collectively, the “Adequate Protection Obligations”):

                 (a)      Prepetition Adequate Protection Liens. The Foris Prepetition Secured

Lenders are hereby granted (effective and perfected upon the date of this InterimFinal Order and

without the necessity of the execution of any mortgages, security agreements, pledge agreements,

financing statements or other agreements) in the amount of their Adequate Protection Claims, a

valid, perfected replacement security interest in and lien upon all of the DIP Collateral (the

“Adequate Protection Liens”), including upon entry of the Final Order, all Avoidance Actions

Proceeds, in each case subject and subordinate only to (A) the DIP Liens, (B) the Carve-Out, and

(C) Permitted Liens or any valid and non-avoidable senior liens (other than the Primed Liens) in

existence immediately prior to the Petition Date that are perfected subsequent to the Petition

Date; provided that the Adequate Protection Liens shall be payable out of Avoidance Actions

Proceeds only after the Foris Prepetition Secured Lenders have exercised commercially

reasonable efforts to satisfy the Adequate Protection Obligations from all other DIP Collateral.

For the avoidance of doubt, the Adequate Protection Liens shall be junior and subordinate to any

properly perfected first priority security interest in and lien upon any Other Encumbered

Prepetition Collateral in favor of DSM under the DSM LSA.

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                 (b)      Adequate Protection Superpriority Claims. The Foris Prepetition Secured

Lenders are hereby granted, subject to the Carve-Out, an allowed superpriority administrative

expense claim to the fullest extent provided by sections 503(b) and 507(b) of the Bankruptcy

Code in each of the Chapter 11 Cases in an amount equal to the Adequate Protection Obligations

that are not secured by the Adequate Protection Liens (the “Adequate Protection Superpriority

Claims”). The Adequate Protection Superpriority Claims shall be ahead of and senior to any and

all other administrative expense claims of any kind specified or ordered pursuant to any

provision of the Bankruptcy Code, but junior to the DIP Superpriority Claims and subject to and

subordinate to the Carve-Out and shall have recourse to and be payable from all prepetition or

postpetition DIP Collateral, including, subject to entry of the Final Order, to the extent provided

therein, any Avoidance Action Proceeds; provided that the Adequate Protection Superpriority

Claims shall be payable out of Avoidance Actions Proceeds only after the Foris Prepetition

Secured Lenders have exercised commercially reasonable efforts to satisfy the Adequate

Protection Superpriority Claims from all other DIP Collateral. The Foris Prepetition Secured

Lenders shall not receive or retain any payments, property or other amounts in respect of the

Adequate Protection Superpriority Claims under section 507(b) of the Bankruptcy Code granted

hereunder unless and until the DIP Obligations have been indefeasibly paid in full.

                 (c)      Adequate Protection Payments. The Debtors are authorized and directed

to pay, without the necessity of filing fee applications with, or seeking approval of, the Court or

in compliance with the U.S. Trustee fee guidelines, all reasonable and documents fees, costs, and

expenses of (i) Goodwin Procter LLP and Troutman Pepper Hamilton Sanders LLP, counsel to

the Foris Prepetition Secured Lenders, (ii) CR3 Partners LLC, financial advisor to the Foris

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Prepetition Secured Lenders, and (iii) any other professionals necessary to represent the interests

of the Foris Prepetition Secured Lenders in connection with these Chapter 11 Cases whether

arising on, prior to or after the Petition Date (all payments referenced herein, collectively, the

“Adequate Protection Payments”); provided that all Adequate Protection Payments shall be

deferred until the DIP Termination Date.

                 (d)      Right to Seek Additional Adequate Protection. This InterimFinal Order is

without prejudice to, and does not constitute a waiver of, expressly or implicitly, the rights of the

Foris Prepetition Secured Lenders to request further or alternative forms of Adequate Protection

at any time or the rights of the Debtors or any other party to contest such request.

                 (e)      Other Covenants. The Debtors shall (i) contemporaneously provide the

Foris Prepetition Secured Lenders and, the Committee, the DIP Agent with all reports,

documents and other information required to be delivered to the DIP Lenders and DIP Agent

under the DIP Loan Documents and this InterimFinal Order and (ii) use Cash Collateral in

accordance with the Budget.

        10.      Reservation of Rights of the DIP Agent, DIP Lenders, and Foris Prepetition

Secured Lenders. Subject in all cases to the Carve-Out, notwithstanding any other provision in

this InterimFinal Order or the DIP Documents to the contrary, the entry of this InterimFinal

Order is without prejudice to, and does not constitute a waiver of, expressly or implicitly, or

otherwise impair: (a) any of the rights of any of the Foris Prepetition Secured Lenders to seek

any other or supplemental relief in respect of the Debtors including the right to seek additional

Adequate Protection at and following the Final Hearing; (b) any of the rights of the DIP Secured

Parties or the Foris Prepetition Secured Lenders under the Bankruptcy Code or under

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non-bankruptcy law, including, without limitation, the right of any of the DIP Secured Parties or

the Foris Prepetition Secured Lenders to (i) request modification of the Automatic Stay of

section 362 of the Bankruptcy Code, (ii) request dismissal of any of the Chapter 11 Cases,

conversion of any of the Chapter 11 Cases to cases under chapter 7, or appointment of a chapter

11 trustee or examiner with expanded powers in any of the Chapter 11 Cases, (iii) seek to

propose, subject to the provisions of section 1121 of the Bankruptcy Code, a chapter 11 plan or

plans; or (c) any other rights, claims, or privileges (whether legal, equitable, or otherwise) of any

of the DIP Secured Parties or the Foris Prepetition Secured Lenders. The delay in or failure of

the DIP Secured Parties and/or the Foris Prepetition Secured Lenders to seek relief or otherwise

exercise their rights and remedies shall not constitute a waiver of any of the DIP Secured Parties’

or the Foris Prepetition Secured Lenders’ rights and remedies.

        11.      Reservation of Certain Committee and Third Party Rights and Bar of Challenges

and Claims. The Debtors’ Stipulations, admissions, agreements, waivers, and releases contained

in this InterimFinal Order, shall be binding upon the Debtors, their estates, and any of their

respective successors (including, without limitation, any chapter 7 or chapter 11 trustee or

examiner appointed or elected for any of the Debtors) in all circumstances and for all purposes.

The Debtors’ Stipulations, admissions, agreements, waivers, and releases contained in this

InterimFinal Order shall be binding upon all other parties in interest, including anythe

Committee and any other person acting on behalf of the Debtors’ estates, unless and to the extent

such Committee or party in interest with requisite standing (in each case, to the extent requisite

standing is obtained pursuant to an order of this Court entered prior to the expiration of the

Challenge Period (as defined herein) and subject in all respects to any agreement or applicable

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law that may limit or affect such entity’s right or ability to do so) has timely and properly filed an

adversary proceeding or contested matter (i) before 75 calendar days after entry of thisthe First

Interim Order, each subject to further extension by written agreement of the Debtors, the DIP

Agent, and the Foris Prepetition Secured Lenders, (in each case, a “Challenge Period” and the

date of expiration of each Challenge Period being a “Challenge Period Termination Date”); (ii)

seeking to avoid, object to, or otherwise challenge the findings or Debtors’ Stipulations

regarding: (a) the validity, binding, legal, enforceability, allowance, amount, characterization,

extent and priority as to the Foris Prepetition Secured Lenders under the Foris Prepetition

Secured Loan Agreements; (b) the validity, enforceability, allowability, priority, characterization,

secured status, or amount of the Foris Prepetition Obligations; or (c) otherwise asserting or

prosecuting any action for preferences, fraudulent transfers or conveyances subordination,

recharacterization, avoidance power claims under the Bankruptcy Code or applicable state or

federal law, other avoidance power claims or other claims, counterclaims or causes of action,

objections, contests or defenses (collectively, the “Challenges”) against the Foris Prepetition

Secured Lenders or their respective subsidiaries, affiliates, officers, directors, managers,

principals, employees, or agents, and the respective successors and assigns thereof, in each case

in their respective capacity as such (each, a “Representative” and, collectively, the

“Representatives”) in connection with any matters directly or indirectly related to, arising from,

or connected with the Foris Prepetition Secured Loan Agreements, and Foris Prepetition

Obligations, the Foris Liens, and the Prepetition Collateral, and the negotiation, implementation

and facts and circumstances related to any of the foregoing and (iii) in which there is a final

non-appealable order entered in favor of the plaintiff sustaining any such Challenge in any such

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timely filed adversary proceeding or contested matter; provided, however, that any pleadings

filed in connection with any Challenge shall set forth with specificity the basis for such challenge

or claim, and any challenges or claims not so specified prior to the expiration of the Challenge

Period shall be deemed forever waived, released, and barred, including any amended or

additional claims that may or could have been asserted thereafter through an amended complaint

under Fed. R. Civ. P. 15 or otherwise. If the Chapter 11 Cases convert to cases under chapter 7,

or if a chapter 11 trustee is appointed, in each case prior to the end of the Challenge Period, the

Challenge Period shall be extended solely for the chapter 7 or chapter 11 trustee to 30 days after

the respective appointment of any such trustee to the extent the Challenge Period had not expired

prior the appointment of such trustee. Upon the expiration of the Challenge Period Termination

Date without the filing of a Challenge (or if any such Challenge is filed and overruled): (a) any

and all such Challenges by any party (including the Committee, any chapter 11 trustee, and/or

any examiner or other estate representative appointed or elected in these Chapter 11 Cases, and

any chapter 7 trustee and/or examiner or other estate representative appointed or elected in any

Successor Case) shall be deemed to be forever barred; (b) the Foris Prepetition Obligations shall

constitute allowed claims, not subject to counterclaim, setoff, recoupment, reduction,

subordination, recharacterization, defense, or avoidance for all purposes in these Chapter 11

Cases and any Successor Cases; (c) the Foris Liens shall be deemed to have been, as of the

Petition Date, legal, valid, binding, enforceable and perfected secured claims, not subject to

recharacterization, subordination, or avoidance; and (d) all of the Debtors’ Stipulations and

admissions contained in this InterimFinal Order, including the Debtors’ Stipulations, and all

other waivers, releases, affirmations, and other stipulations regarding the validity, binding, legal,

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enforceability, allowance, amount, characterization, priority, and extent as to the Foris

Prepetition Secured Lenders’ claims, liens, and interests contained in this InterimFinal Order

shall be of full force and effect and forever binding upon the Debtors, the Debtors’ estates, and

all creditors, interest holders, and other parties in interest in these Chapter 11 Cases and any

Successor Cases. If any such adversary proceeding or contested matter is timely and properly

filed under the Bankruptcy Rules and remains pending and the Chapter 11 Cases are converted to

a case under chapter 7, the chapter 7 trustee may continue to prosecute such adversary

proceeding or contested matter on behalf of the Debtors’ estates. Furthermore, if any such

adversary proceeding or contested matter is timely and properly filed under the Bankruptcy

Rules, the stipulations and admissions contained in this InterimFinal Order, including the

Debtors’ Stipulations, shall nonetheless remain binding and preclusive on anythe Committee and

any other person or entity except to the extent that such stipulations and admissions were

expressly challenged in such adversary proceeding or contested matter prior to the Challenge

Period Termination Date. Nothing in this InterimFinal Order vests or confers on any person (as

defined in the Bankruptcy Code), including, without limitation, anythe Committee appointed in

the Chapter 11 Cases, requisite standing or authority to pursue any cause of action belonging to

the Debtors or their estates, including, without limitation any challenges (including a Challenge)

with respect to the Foris Prepetition Secured Loan Agreements, the Foris Liens, and the Foris

Prepetition Obligations, and a separate order of the Court conferring such requisite standing on

anythe Committee or other party-in-interest shall be a prerequisite for the prosecution of a

Challenge by such Committee or such other party-in-interest; provided that so long as any

potential claim has not previously been lawfully waived under the organizational documents of

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the applicable Debtors, no interested party shall be permitted to raise as a defense to any request

for standing or to any Challenge the argument that creditors of such Debtor do not have the

ability under applicable law to file derivative suits on behalf of limited liability companies under

the Delaware Limited Liability Company Act, but all other objections, defenses, claims or

arguments to any such request for standing or to any Challenge are expressly reserved and

preserved in all respects. Notwithstanding the foregoing, to the extent a motion seeking standing

to commence a Challenge is timely filed and attaches a draft complaint setting forth the legal and

factual bases of the proposed Challenge prior to the expiration of the Challenge Period and the

Challenge Period expires before such motion is ruled upon by this Court, the Challenge Period

will be tolled solely with respect to the Challenges asserted in the draft complaint until the earlier

of (x) the thirtieth (30th) day following the filing of such motion (which may be extended by

Court order or written agreement of the DIP Agent, Debtors and movant, in each case, to

accommodate the Court’s calendar) or (y) three (3) business days from the entry of an order

ruling on such motion. If standing is denied by the Court, the Challenge Period shall be deemed

to have expired with respect to such Challenges; provided, however nothing herein shall limit the

Foris Prepetition Secured Lenders’ right to seek an expedited ruling on any such motion.

Nothing in this Interim Order shall limit or impair any rights of the Committee, including with

respect to any final approval of the DIP Facility and any related relief, and including with respect

to any form of order previously agreed between the Committee, the Debtors, andNotwithstanding

anything to the contrary in this Paragraph 11, the DIP Lenders approving the DIP facility on a

final basis, and all rights of the Committee (including to object to any form of final order




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proposed on terms inconsistent with such prior agreement) are reserved and preservedChallenge

Period Termination Date for the Committee shall be November 15, 2023.

        12.      DIP Termination Date. On the DIP Termination Date, (a) all DIP Obligations

shall be immediately due and payable, and all commitments to extend credit under the DIP

Facility will terminate; (b) all authority to use Cash Collateral shall cease; provided, however,

that during the Remedies Notice Period (as defined below), the Debtors may use Cash Collateral

to fund the Carve-Out and Trust Fund Amounts in accordance with the Budget (subject to the

Permitted Variances) (or, in the case of the Committee’s Professionals, the Committee

Carve-Out Amount); and (c) the DIP Secured Parties shall be otherwise entitled to exercise

rights and remedies under the DIP Documents in accordance with Paragraph 15 of this

InterimFinal Order.

        13.      Events of Default. The occurrence of any of the following events, unless waived

by the DIP Agent in accordance with the terms of the DIP Documents, shall constitute an event

of default (collectively, the “Events of Default”): (a) the failure of the Debtors to perform, in any

material respect, any of the terms, provisions, conditions, covenants, or obligations under this

InterimFinal Order; (b) the failure of the Debtors to comply with the Milestones (as defined

herein); or (cb) the occurrence of an “Event of Default” under the DIP Credit Agreement.

        14.      Milestones. The failure of the Debtors to comply with any of the Milestones (as

defined in, and set forth in, Section 7.25 of the DIP Credit Agreement and subject to section

8.12(t)) shall (a) constitute an Event of Default under (i) the DIP Credit Agreement and (ii) this

InterimFinal Order, (b) result in the automatic termination of the Debtors’ authority to use Cash

Collateral under this InterimFinal Order, and (c) permit the DIP Agent, subject to the terms of

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Paragraph 15 hereof (as applicable), to exercise the rights and remedies provided for in this

InterimFinal Order and the DIP Documents. The DIP Secured Parties and the Debtors hereby

agree to modify section 7.25(c) of the DIP Credit Agreement to provide that the Court shall enter

the Final Order no later than fifty-six (56) days following the Petition Date (i.e., October 4,

2023).

         15.     Rights and Remedies upon Event of Default.

                 (a)      Immediately upon the occurrence and during the continuation of an Event

of Default, notwithstanding the Automatic Stay, which is lifted with respect to the provisions of

this paragraph, without any application, motion, or notice to, hearing before, or order from the

Court, but subject to the terms of this InterimFinal Order, the DIP Agent may declare (any such

declaration shall be referred to herein as a “Termination Declaration”) (i) all DIP Obligations

owing under the DIP Documents to be immediately due and payable, (ii) the termination,

reduction or restriction of any further commitment to extend credit to the Debtors to the extent

any such commitment remains under the DIP Facility, (iii) the termination of the DIP Facility

and the DIP Documents as to any future liability or obligation of the DIP Agent and the DIP

Lenders, but without affecting any of the DIP Liens or the DIP Obligations, and (iv) the

termination of the Debtors’ ability to use Cash Collateral, except for payment of the Trust Fund

Amounts and funding of the Carve-Out Account and any obligations to fund the Carve-Out

through the delivery of the Carve-Out Trigger Notice to the Borrowers (the date which is the

earliest to occur of any such date a Termination Declaration is delivered and the DIP

Termination Date shall be referred to herein as the “Termination Date” and the remedies set forth

in clauses (i) through (v) hereof, the “Automatic Remedies”). The Termination Declaration shall

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not be effective until notice has been provided by electronic mail (or other electronic means) to

counsel to the Debtors, counsel to anythe Committee, and the U.S. Trustee.

                 (b)      16. With respect to all rights and remedies of the DIP Agent, the DIP

Lenders and the Foris Prepetition Secured Lenders other than the Automatic Remedies, the

Automatic Stay in the Chapter 11 Cases otherwise applicable to the DIP Agent, the DIP Lenders,

and the Foris Prepetition Secured Lenders is hereby modified so that five (5) business days after

the date a Termination Declaration is delivered (the “Remedies Notice Period”), unless the

Bankruptcy Court orders otherwise, the DIP Agent shall be entitled to exercise all of its rights

and remedies (other than the Automatic Remedies) in accordance with the DIP Documents and

this InterimFinal Order to satisfy the DIP Obligations, DIP Liens, and Adequate Protection

Obligations subject to the Carve-Out. During the Remedies Notice Period, the Debtors, the

Committee (if appointed), and/or any party in interest shall be entitled to seek an emergency

hearing within the Remedies Notice Period with the Court; provided that, if a request for such

hearing is made prior to the end of the Remedies Notice Period, then the Remedies Notice Period

shall be continued until the Court hears at its earliest availability and rules with respect thereto.

Upon expiration of the Remedies Notice Period, the DIP Agent and the Foris Prepetition Secured

Lenders shall be permitted to exercise all remedies set forth herein, and in the DIP Documents,

the Foris Prepetition Secured Loan Agreements and as otherwise available at law without further

order of or application or motion to this Court consistent with this InterimFinal Order; provided

that the Foris Prepetition Secured Lenders shall be permitted to exercise remedies to the extent

available solely with respect to the Debtors’ use of Cash Collateral and the Adequate Protection

Obligations. In the event the Debtors request a hearing (after providing no less than five (5)

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business days’ prior notice), at which the Debtors seek to prevent the DIP Agent from exercising

any of its rights and remedies that arise after an Event of Default (except for those provided for

in the DIP Agent remedies), the sole issue the Debtorsthat may raisebe raised by the Debtors

before the Bankruptcy Court at such hearing shall be whether an Event of Default has occurred

and has not been waived. No other issue or argument shall be relevant to any opposition to

enforcement of the DIP Agent’s rights by the Debtors at such hearing.

        16.      17. Limitation on Charging Expenses Against Collateral. NoExcept to the extent

of the Carve-Out, as applicable (but for the avoidance of doubt, without duplication), no

expenses of administration of the Chapter 11 Cases or any future proceeding that may result

therefrom, including liquidation in bankruptcy or other proceedings under the Bankruptcy Code,

shall be charged against or recovered from (a) the Prepetition Collateral or the Foris Prepetition

Secured Lenders, subject to entry of the Final Order, to the extent provided therein, or (b) the

DIP Collateral (except to the extent of the Carve-Out), the DIP Agent or the DIP Lenders, in

each case, pursuant to sections 105(a) or 506(c) of the Bankruptcy Code or any similar principle

of law or equity, without the prior written consent of the DIP Agent, the DIP Lenders, and the

Foris Prepetition Secured Lenders, as applicable, and no such consent shall be implied from any

other action, inaction, or acquiescence by the DIP Agent, the DIP Lenders, or the Foris

Prepetition Secured Lenders.

        17.      18. Use of Cash Collateral. The Debtors are hereby authorized to use all Cash

Collateral of the Foris Prepetition Secured Lenders, but solely for the purposes set forth in this

InterimFinal Order and in accordance with the Budget (subject to Permitted Variances as set

forth in this InterimFinal Order and the DIP Documents) including, without limitation, to make

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payments on account of the Adequate Protection Obligations provided for in this InterimFinal

Order, from the date of this InterimFinal Order through and including the Termination Date.

        18.      19. Expenses and Indemnification.

                 (a)      The Debtors are hereby authorized and directed to pay, in accordance with

this InterimFinal Order, the principal, interest, fees, payments, expenses, and other amounts

described in the DIP Documents as such amounts become due and without need to obtain further

Court approval, including, without limitation, all invoiced fees and other amounts owed to the

DIP Lenders or the DIP Agent (solely in their respective capacities as such), the reasonable and

documented fees and disbursements of counsel and other professionals to the extent set forth in

Paragraphs 3(d) and 9(c) of this InterimFinal Order, whether or not such fees arose before or

after the Petition Date, all to the extent provided in this InterimFinal Order or the DIP

Documents; provided that payment of such fees, expenses, and other disbursements shall be

deferred to the DIP Termination Date; and further provided that payment shall be made after at

least ten (10) days’ notice (which may be via email) of an invoice (the “Fee Objection Period”)

has been provided to the Debtors, the U.S. Trustee, and the Committee (the “Fee Notice

Parties”). If a formal objection is made by any of the Fee Notice Parties within the Fee

Objection Period to payment of the requested postpetition fees and expenses, then only the

disputed portion of such fees and expenses shall not be paid until such objection is resolved by

the applicable parties in good faith or by order of the Court, and the undisputed portion shall be

promptly paid by the Debtors. Notwithstanding the foregoing, the Debtors are authorized and

directed to pay all adequate protection fees and expenses incurred under this Paragraph 18 on or

prior to the Petition Date without the need for any applicable professional to first deliver a copy

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of its invoice or other supporting documentation. Subject to paragraph 11, any and all fees, costs

and expenses paid prior to the Petition Date by any of the Debtors to or on behalf of the Foris

Prepetition Secured Lenders (solely in their capacities as such), in connection with or with

respect to these matters, are hereby approved in full and shall not be subject to avoidance,

disgorgement, or any similar form of recovery by the Debtors or any other person.

                 (b)      The Foris Prepetition Secured Lenders and the DIP Secured Parties have

acted in good faith and without negligence, misconduct, or violation of public policy or law, in

respect of all actions taken by them in connection with or related in any way to negotiating,

implementing, documenting, or obtaining requisite approvals of the DIP Facility and the use of

Cash Collateral, including in respect of the granting of the DIP Liens and the Adequate

Protection Obligations, any challenges or objections to the DIP Facility or the use of Cash

Collateral, the DIP Documents, the InterimFinal Order, and all other documents related to and all

transaction contemplated by the foregoing. Accordingly, without limitation to any other right to

indemnification, the DIP Secured Parties and their Representatives, in each case solely in their

respective capacities as such, and the Foris Prepetition Secured Lenders and their

Representatives, in each case solely in their respective capacities as such, shall be and hereby are

indemnified (as applicable) as provided in the DIP Documents. The Debtors agree that no

exception or defense in contract, law, or equity exists as of the date of this InterimFinal Order to

any obligation set forth, as the case may be, in this Paragraph 1918 or in the DIP Documents to

indemnify and/or hold harmless the DIP Secured Parties, and the Foris Prepetition Secured

Lenders (in each case, solely in their respective capacities as such) and any such defenses that

may be in existence as of the date of this InterimFinal Order are hereby waived, except in the

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case of bad faith, fraud, or gross negligence.

        19.      20. No Third Party Rights.       Except as explicitly provided for herein, this

InterimFinal Order does not create any rights for the benefit of any third party, creditor, equity

holder, or any direct, indirect, or incidental beneficiary.

        20.      21. Section 507(b) Reservation. Subject to the Carve-Out, nothing herein shall

impair or modify the application of section 507(b) of the Bankruptcy Code in the event that the

Adequate Protection provided to the Foris Prepetition Secured Lenders is insufficient to

compensate for any aggregate diminution in the value as of the Petition Date of their interests in

the Prepetition Collateral (including Cash Collateral) as provided in Paragraph 9 during the

Chapter 11 Cases. Nothing contained herein shall be deemed a finding by the Court, or an

acknowledgment by any of the Foris Prepetition Secured Lenders that the Adequate Protection

granted herein does in fact adequately protect any of the Foris Prepetition Secured Lenders

against any aggregate diminution in the value as of the Petition Date of their respective interests

in the Prepetition Collateral (including the Cash Collateral) as provided in Paragraph 9.

        21.      22. Insurance. Upon entry of this InterimFinal Order and to the fullest extent

provided by applicable law, the DIP Agent (on behalf of the DIP Secured Parties) and the Foris

Prepetition Secured Lenders (solely with respect to any Adequate Protection Obligations), shall

be, and shall be deemed to be, without any further action or notice, named as additional insured

and loss payee on each insurance policy maintained by the Debtors that in any way relates to the

DIP Collateral.

        22.      23. No Waiver for Failure to Seek Relief. The failure or delay of the DIP Agent or

the DIP Lenders to exercise rights and remedies under this InterimFinal Order, the DIP

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Documents, or applicable law, as the case may be, shall not constitute a waiver of their

respective rights hereunder, thereunder, or otherwise.

        23.      24. Perfection of the DIP Liens and Adequate Protection Liens.

                 (a)      Without in any way limiting the automatic validity and effective perfection

of the DIP Liens and Adequate Protection Liens granted herein, the DIP Agent, the DIP Lenders,

and the Foris Prepetition Secured Lenders are hereby authorized, but not required, to file or

record (and to execute in the name of the Borrowers and Guarantors and the Foris Prepetition

Secured Lenders (as applicable), as their true and lawful attorneys, with full power of

substitution, to the maximum extent permitted by law) financing statements, trademark filings,

patent filings, copyright filings, other intellectual property filings, mortgages, deposit account

control agreements, notices of lien or similar instruments in any jurisdiction, or to take

possession of or control over cash or securities, or to amend or modify security documents, or to

subordinate existing liens and any other similar action or action in connection therewith or take

any other action in order to document, validate and perfect the liens and security interests granted

hereunder (the “Perfection Actions”). Whether or not the DIP Agent, on behalf of the DIP

Secured Parties, or the Foris Prepetition Secured Lenders shall take such Perfection Actions, the

liens and security interests shall be deemed valid, perfected, allowed, enforceable,

non-avoidable, and not, subject to challenge, dispute, or subordination, at the time and on the

date of entry of this InterimFinal Order. If the DIP Agent and the Foris Prepetition Secured

Lenders determine to take any Perfection Actions, the Debtors shall cooperate and assist in any

such execution and/or filings as reasonably requested by the DIP Agent, and the Automatic Stay

shall be modified to allow such Perfection Actions to be taken.

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                 (b)      A certified copy of this InterimFinal Order may, at the direction of the DIP

Agent, and/or the Foris Prepetition Secured Lenders, be filed with or recorded in filing or

recording offices by the DIP Agent and the Foris Prepetition Secured Lenders in addition to or in

lieu of such financing statements, mortgages, notices of lien, or similar instruments, and all filing

offices are hereby authorized to accept such certified copy of this InterimFinal Order for filing

and recording; provided, however, that notwithstanding the date of any such filing, the date of

such perfection shall be the date of thisthe First Interim Order.

                 (c)      Any provision of any lease or other license, contract or other agreement

that requires (i) the consent or approval of one or more landlords, licensor, contract counterparty

or other parties or (ii) the payment of any fees or obligations to any governmental entity, in order

for any Debtor to pledge, grant, sell, assign, or otherwise transfer any such leasehold interest,

license, contracts, or other rights, or the proceeds thereof, or other collateral related thereto, is

hereby deemed to be inconsistent with the applicable provisions of the Bankruptcy Code, subject

to applicable law. Any such provision shall have no force and effect with respect to the granting

of the DIP Liens and the Adequate Protection Liens on such leasehold interest, license, contract

or other rights, or the proceeds thereof, of any assignment and/or sale thereof by any Debtor in

accordance with the terms of the DIP Credit Agreement or this InterimFinal Order, subject to

applicable law.

        24.      25. Credit Bidding. The DIP Agent shall have the right to credit bid up to the full

amount of the DIP Obligations in any sale of the DIP Collateral. The Foris Prepetition Secured

Lenders shall have the right to credit bid (either directly or through one or more acquisition

vehicles), up to the full amount of the Foris Prepetition Obligations pursuant to section 363(k) of

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the Bankruptcy Code, subject to the rights and limitations set forth in Paragraphs 11 and 2726 of

this InterimFinal Order, without the need tofor any further Court order authorizing the same and

whether any such sale is effectuated through section 363 or 1129 of the Bankruptcy Code, by a

chapter 7 trustee under section 725 of the Bankruptcy Code, or otherwise.

        25.      26. Preservation of Rights Granted Under this InterimFinal Order.

                 (a)      Unless and until all DIP Obligations are indefeasibly paid in full, in cash,

and all commitments to extend credit under the DIP Facility are terminated, unless the DIP

Lenders agree otherwise, the Foris Prepetition Secured Lenders shall: (i) have no right to and

shall take no action to foreclose upon, or recover in connection with, the liens granted thereto

pursuant to the Foris Prepetition Secured Loan Agreements or this InterimFinal Order, or

otherwise seek to exercise or enforce any rights or remedies against such DIP Collateral; and (ii)

not file any further financing statements, trademark filings, copyright filings, mortgages, notices

of lien or similar instruments, or otherwise take any action to perfect their security interests in

the DIP Collateral, except as set forth in Paragraph 24 herein.

                 (b)      In the event this InterimFinal Order or any provision hereof is vacated,

reversed, or modified on appeal or otherwise, any liens or claims granted to the DIP Secured

Parties or the Foris Prepetition Secured Lenders hereunder arising prior to the effective date of

any such vacatur, reversal, or modification of this InterimFinal Order shall be governed in all

respects by the original provisions of this InterimFinal Order, including entitlement to all rights,

remedies, privileges, and benefits granted herein, and the Foris PrepetitionDIP Secured

LendersParties shall be entitled to all the rights, remedies, privileges, and benefits afforded in

section 364(e) of the Bankruptcy Code.

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                 (c)      Unless and until all DIP Obligations, Foris Prepetition Obligations, and

Adequate Protection Payments are indefeasibly paid in full, in cash, and all commitments to

extend credit under the DIP Facility are terminated, the Debtors irrevocably waive the right to

seek and shall not seek or consent to, directly or indirectly (i) except as permitted under the DIP

Documents or, if not provided for therein, with the prior written consent of the DIP Agent and

(x) any modification, stay, vacatur, or amendment of this InterimFinal Order or (y) a priority

claim for any administrative expense or unsecured claim against any of the Debtors (now

existing or hereafter arising of any kind or nature whatsoever, including, without limitation, any

administrative expense of the kind specified in sections 503(b), 507(a), or 507(b) of the

Bankruptcy Code) in any of the Chapter 11 Cases, pari passu with or senior to the DIP

Superpriority Claims, the Adequate Protection Superpriority Claims, or the Foris Prepetition

Obligations, or (z) any other order allowing use of the DIP Collateral; (ii) except as permitted

under the DIP Documents (including the Carve-Out), any lien on any of the DIP Collateral with

priority equal or superior to the DIP Liens, the Adequate Protection Liens or the Foris Liens, as

applicable; (iii) the use of Cash Collateral for any purpose other than as permitted in the DIP

Documents and this InterimFinal Order; (iv) except as set forth in the DIP Documents, the return

of goods pursuant to section 546(h) of the Bankruptcy Code (or other return of goods on account

of any prepetition indebtedness) to any creditor of any Debtor; (v) an order converting or

dismissing any of the Chapter 11 Cases; (vi) an order appointing a chapter 11 trustee in any of

the Chapter 11 Cases; or (vii) an order appointing an examiner with enlarged powers in any of

the Chapter 11 Cases.

                 (d)      Notwithstanding any order dismissing any of the Chapter 11 Cases entered

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at any time, (x) the DIP Liens, the DIP Superpriority Claims, the Adequate Protection Liens, the

Adequate Protection Obligations and the Adequate Protection Superpriority Claims, and the

other administrative claims granted pursuant to this InterimFinal Order, shall continue in full

force and effect and shall maintain their priorities as provided in this InterimFinal Order until all

DIP Obligations and Adequate Protection Obligations are indefeasibly paid in full, in cash (and

such DIP Liens, DIP Superpriority Claims, Adequate Protection Liens, Adequate Protection

Obligations and Adequate Protection Superpriority Claims, and the other administrative claims

granted pursuant to this InterimFinal Order, shall, notwithstanding such dismissal, remain

binding on all parties in interest); and (y) to the fullest extent permitted by law the Court shall

retain jurisdiction, notwithstanding such dismissal, for the purposes of enforcing the claims,

liens, and security interests referred to in clause (x) above.

                 (e)      Except as expressly provided in this InterimFinal Order or in the DIP

Documents, the DIP Liens, the DIP Obligations, and the Adequate Protection Obligations, and

all other rights and remedies of the DIP Agent, the DIP Lenders, and the Foris Prepetition

Secured Lenders granted by the provisions of this InterimFinal Order and the DIP Documents

shall survive, and shall not be modified, impaired, or discharged by (i) the entry of an order

converting any of the Chapter 11 Cases to a case under chapter 7, dismissing any of the Chapter

11 Cases, terminating the joint administration of these Chapter 11 Cases or by any other act or

omission, (ii) the entry of an order approving the sale of any Prepetition Collateral or DIP

Collateral pursuant to section 363(b) of the Bankruptcy Code, or (iii) the entry of an order

confirming a chapter 11 plan in any of the Chapter 11 Cases and, pursuant to section 1141(d)(4)

of the Bankruptcy Code, the Debtors have waived any discharge as to any remaining DIP

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Obligations or Adequate Protection Obligations. The terms and provisions of this InterimFinal

Order and the DIP Documents shall continue in these Chapter 11 Cases, in any Successor Cases

if these Chapter 11 Cases cease to be jointly administered, or in any superseding chapter 7 cases

under the Bankruptcy Code. The DIP Liens, the DIP Obligations and the Adequate Protection

Obligations and all other rights and remedies of the DIP Secured Parties and the Foris Prepetition

Secured Lenders granted by the provisions of this InterimFinal Order shall continue in full force

and effect until the DIP Obligations and the Adequate Protection Obligations are indefeasibly

paid in full, in cash (or, with respect to the DIP Obligations, otherwise satisfied in a manner

agreed to by the DIP Lenders and the DIP Agent).

                 (f)      Other than as set forth in this InterimFinal Order, neither the DIP Liens

nor the Adequate Protection Liens shall be made subject to or pari passu with any lien or

security interest granted in any of the Chapter 11 Cases or arising after the Petition Date, and

neither the DIP Liens nor the Adequate Protection Liens shall be subject or junior to any lien or

security interest that is avoided and preserved for the benefit of the Debtors’ estates under

Bankruptcy Code section 551.

        26.      27. Limitation on Use of DIP Facility Proceeds, DIP Collateral, and Cash

Collateral. Notwithstanding any other provision of this InterimFinal Order or any other order

entered by the Court, no DIP Loans, DIP Collateral, Prepetition Collateral (including Cash

Collateral) or any portion of the Carve-Out, may be used directly or indirectly, including, without

limitation through reimbursement of professional fees of any non-Debtor party (a) in connection

with the investigation, threatened initiation or prosecution of any claims, causes of action,

adversary proceedings or other litigation or challenges (i) against any of the DIP Secured Parties,

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the Foris Prepetition Secured Lenders, or their Representatives, or any action purporting to do

the foregoing in respect of the DIP Obligations, the DIP Liens, Foris Prepetition Obligations,

and/or the Adequate Protection Obligations or (ii) challenging the validity, binding, legal,

enforceability, allowance, amount, characterization, extent and priority or asserting any defense,

counterclaim or offset with respect to, the DIP Obligations, the Adequate Protection Obligations,

the Foris Prepetition Secured Loans and/or the liens, claims, rights, or security interests securing

or supporting the DIP Obligations and the Adequate Protection Obligations granted under this

InterimFinal Order, the Final OrderInterim Orders, the DIP Documents or the Foris Prepetition

Secured Loan Agreements in respect of the Foris Prepetition Secured Loans, including, in the

case of each (i) and (ii), without limitation, for lender liability, recharacterization, subordination,

derivative claims, or pursuant to section 105, 510, 544, 547, 548, 549, 550 or 552 of the

Bankruptcy Code, applicable non-bankruptcy law or otherwise (provided that, notwithstanding

anything to the contrary herein, the proceeds of the DIP Loans and/or DIP Collateral (including

Cash Collateral) may be used by the Committee to investigate (but not to prosecute or initiate the

prosecution of, including the preparation of any complaint or motion on account of) (A) the

claims and liens of the Foris Prepetition Secured Lenders and (B) potential claims,

counterclaims, causes of action or defenses against the Foris Prepetition Secured Lenders

(together, the “Investigation”), up to an aggregate cap of no more than $50,000100,000 (the

“Investigation Budget”), (b) to prevent, hinder, or otherwise delay or interfere with the Foris

Prepetition Secured Lenders’, or the DIP Agent’s, or the DIP Secured Parties’, as applicable,

enforcement or realization on the Foris Prepetition Obligations, Foris Liens, Prepetition

Collateral, Adequate Protection Obligations, DIP Obligations, DIP Liens, DIP Collateral, and the

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liens, claims and rights granted to such parties under the Interim OrderOrders or Final Order, as

applicable, each in accordance with the DIP Documents, the Foris Prepetition Secured Loan

Agreements or this InterimFinal Order; (c) to seek to modify any of the rights and remedies

granted to the Foris Prepetition Secured Lenders, the DIP Agent or the DIP Lenders under this

InterimFinal Order, the Foris Prepetition Secured Loan Agreements or the DIP Documents, as

applicable; (d) to apply to the Court for authority to approve superpriority claims or grant liens

(other than the liens permitted pursuant to the DIP Documents) or security interests in the DIP

Collateral or any portion thereof that are senior to, or on parity with, the DIP Liens, DIP

Obligations, and Adequate Protection Obligations, or (e) to pay or to seek to pay any amount on

account of any claims arising prior to the Petition Date unless such payments are approved or

authorized by the Court, agreed to in writing by the DIP Lenders, expressly permitted under this

InterimFinal Order or permitted under the DIP Documents (including the Budget, subject to the

Permitted Variance, or, in the case of the Committee’s Professionals, the Committee Carve-Out

Amount (subject to the Liquidity Condition)), in each case unless all DIP Obligations, Foris

Prepetition Secured Loans, Adequate Protection Obligations, and claims granted to the DIP

Agent, DIP Lenders and Foris Prepetition Secured Lenders under this InterimFinal Order (in the

case of the Foris Prepetition Secured Lenders, subject to Paragraph 11), have been refinanced or

paid in full in cash or otherwise agreed to in writing by the DIP Secured Parties and the Foris

Prepetition Secured Lenders. To the extent the fees and expenses of the Committee incurred in

connection with such actions exceed the Investigation Budget, the Committee’s rights with

respect to the assertion and allowance of any administrative expense claim against the Debtors

for any fees and expenses incurred (whether in excess of the Investigation Budget or otherwise)

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are preserved and all parties’ rights to oppose the allowance of any fees and expenses of the

Committee shall be preserved.

        27.      28. Conditions Precedent. No DIP Lenders shall have any obligation to make any

DIP Loan under the respective DIP Documents unless all of the conditions precedent to the

making of such extensions of credit under the applicable DIP Documents have been satisfied in

full or waived in accordance with such DIP Documents.

        28.      29. Binding Effect; Successors and Assigns. The DIP Documents and the

provisions of this Final Order and the Interim OrderOrders, including all findings herein, shall be

binding upon all parties in interest in these Chapter 11 Cases, including without limitation, the

DIP Secured Parties, the Foris Prepetition Secured Lenders, anythe Committee appointed in

these Chapter 11 Cases, and the Debtors and their respective successors and assigns (including

any chapter 7 or chapter 11 trustee hereinafter appointed or elected for the estate of any of the

Debtors, an examiner appointed pursuant to section 1104 of the Bankruptcy Code, or any other

fiduciary appointed as a legal representative of any of the Debtors or with respect to the property

of the estate of any of the Debtors) and shall inure to the benefit of the DIP Secured Parties and

the Foris Prepetition Secured Lenders; provided that, except to the extent expressly set forth in

this InterimFinal Order, the Foris Prepetition Secured Lenders shall have no obligation to permit

the use of Cash Collateral or to extend any financing to any chapter 7 trustee or similar

responsible person appointed for the estates of the Debtors. In determining to make any loan

(whether under the DIP Credit Agreement, a promissory note or otherwise) to permit the use of

Cash Collateral or in exercising any rights or remedies as and when permitted pursuant to this

InterimFinal Order or the DIP Documents, the DIP Secured Parties and the Foris Prepetition

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Secured Lenders (in each case, solely in their respective capacities as such) shall not (i) be

deemed to be in control of the operations of the Debtors, or (ii) owe any fiduciary duty to the

Debtors, their respective creditors, shareholders, or estates.

        29.      30. Limitation of Liability. Subject to entry of the Final Order, to the extent

provided therein, inIn determining to make any loan under the DIP Documents, permitting the

use of Cash Collateral, or in exercising any rights or remedies as and when permitted pursuant to

this InterimFinal Order or the DIP Documents, the DIP Secured Parties and the Foris Prepetition

Secured Lenders shall not, solely by reason thereof, be deemed in control of the operations of the

Debtors or to be acting as a “responsible person” or “owner or operator” with respect to the

operation or management of the Debtors (as such terms, or any similar terms, are used in the

United States Comprehensive Environmental Response, Compensation and Liability Act, 29

U.S.C. §§ 9601 et seq. as amended, or any similar federal or state statute). Furthermore, nothing

in this InterimFinal Order or in the DIP Documents shall in any way be construed or interpreted

to impose or allow the imposition upon the DIP Secured Parties, or the Foris Prepetition Secured

Lenders (in each case, solely in their respective capacities as such) of any liability for any claims

arising from the prepetition or post-petition activities of any of the Debtors.

        30.      31. No Requirement to File Claim for DIP Obligations. Notwithstanding anything

to the contrary contained in any prior or subsequent order of the Court, including, without

limitation, any order establishing a deadline for the filing of proofs of claim or requests for

payment of administrative expenses under section 503(b) of the Bankruptcy Code, the DIP

Secured Parties and the Foris Prepetition Secured Lenders shall not be required to file any proof

of claim or request for payment of administrative expenses with respect to any of the DIP

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Obligations, Adequate Protection Obligations, all of which shall be due and payable in

accordance with the DIP Documents without the necessity of filing any such proof of claim or

request for payment of administrative expenses, and the failure to file any such proof of claim or

request for payment of administrative expenses shall not affect the validity, binding, legal,

enforceability, allowance, amount, characterization, extent and priority as to any of the DIP

Documents or of any indebtedness, liabilities, or obligations arising at any time thereunder or

under this InterimFinal Order, or prejudice or otherwise adversely affect the DIP Secured Parties’

or the Foris Prepetition Secured Lenders’ respective rights, remedies, powers, or privileges under

any of the DIP Documents, this InterimFinal Order, or applicable law. The provisions set forth

in this paragraph are intended solely for the purpose of administrative convenience and shall not

affect the substantive rights of any party-in-interest or their respective successors-in-interest.

        31.      32. No Requirement to File Claim for Foris Prepetition Obligations.

Notwithstanding anything to the contrary contained in any prior or subsequent order of the Court,

including, without limitation, any order establishing a deadline for the filing of proofs of claim or

requests for payment of administrative expenses under section 503(b) of the Bankruptcy Code,

no Foris Prepetition Secured Lender shall be required to file any proof of claim or request for

payment of administrative expenses with respect to any of the Foris Prepetition Obligations; and

the failure to file any such proof of claim or request for payment of administrative expenses shall

not affect the validity, binding, legal, enforceability, allowance, amount, characterization, extent

and priority as to any of the Foris Prepetition Secured Loan Agreements or of any indebtedness,

liabilities, or obligations arising at any time thereunder or prejudice or otherwise adversely affect

the Foris Prepetition Secured Lenders’ rights, remedies, powers, or privileges under any of the

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Foris Prepetition Secured Loan Agreements, this InterimFinal Order, or applicable law. The

provisions set forth in this paragraph are intended solely for the purpose of administrative

convenience and shall not affect the substantive rights of any party-in-interest or their respective

successors-in-interest.

        32.      33. No Marshaling. In no event shall (a) the DIP Agent or the DIP Secured

Parties with respect to the DIP Collateral and the DIP Obligations, or the Foris Prepetition

Secured Lenders with respect to the Adequate Protection Obligations (except with respect to the

marshaling of Avoidance Action Proceeds as provided in Paragraph 9(a) and (b)), or (b) the Foris

Prepetition Secured Lenders with respect to the Prepetition Collateral or the Foris Prepetition

Obligations, subject to entry of athis Final Order, to the extent provided therein, in each case, be

subject to the equitable doctrine of “marshaling” or any other similar doctrine.

        33.      34. Equities of the Case. Subject to entry of the Final Order, to the extent

provided therein, in In no event shall the “equities of the case” exception in section 552(b) of the

Bankruptcy Code apply to the Foris Prepetition Secured Lenders with respect to proceeds,

product, offspring, or profits of any of the Prepetition Collateral.

        34.      35. Joint and Several Liability. Nothing in this InterimFinal Order shall be

construed to constitute a substantive consolidation of any of the Debtors’ estates, it being

understood, however, that the Debtors and the Guarantors shall be jointly and severally liable for

the obligations hereunder and all DIP Obligations in accordance with the terms hereof and of the

DIP Documents.

        35.      36. Discharge. Subject to entry of the Final Order, to the extent provided therein,

the The DIP Obligations and the obligations of the Debtors with respect to the Adequate

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Protection provided herein shall not be discharged by the entry of an order confirming any plan

of reorganization in any of the Chapter 11 Cases, notwithstanding the provisions of section

1141(d) of the Bankruptcy Code, unless such obligations have been indefeasibly paid in full in

cash (other than contingent indemnification obligations for which no claim has been asserted),

on or before the effective date of such plan of reorganization, or each of the DIP Secured Parties

and the Foris Prepetition Secured Lenders as applicable, has to otherwise agreed in writing;

provided, that the DIP Facility, at the sole option of the DIP Lenders may be continued and/or

converted into an exit term facility financing, subject to and in accordance with the DIP Credit

Agreement.

        36.      37. Payments Held In Trust. Except as expressly permitted in this InterimFinal

Order or the DIP Documents, and subject to the Carve-Out, in the event that any person or entity

receives any payment on account of a security interest in DIP Collateral, receives any DIP

Collateral or any proceeds of the DIP Collateral, or receives any other payment with respect

thereto from any other source prior to all DIP Obligations, Adequate Protection Obligations, and

Foris Prepetition Obligations, in accordance with the DIP Documents and the Foris Prepetition

Secured Loan Agreements, such person or entity shall be deemed to have received, and shall

hold, any such payment or proceeds of the DIP Collateral in trust for the benefit of the DIP

Secured Parties and the Foris Prepetition Secured Lenders and shall immediately turn over such

proceeds to them in accordance with their relative priority, or as otherwise instructed by this

Court, for application in accordance with the DIP Credit Agreement, the Foris Prepetition

Secured Loan Agreements and this InterimFinal Order.




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        38.       Final Hearing. The Final Hearing on the Motion shall be held on October 4,

2023, at 10:00 a.m., prevailing Eastern Time. Nothing in this Interim Order shall limit or

impair any rights of Lavvan, including with respect to any final approval of the DIP Facility and

any related relief, and all rights of Lavvan to object to any form of Final Order are reserved and

preserved.

        37.       39. Effect of this InterimFinal Order. This InterimFinal Order shall constitute

findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052 and shall take effect

and be enforceable immediately upon execution hereof.

        38.       40. Retention of Jurisdiction. The Court retains exclusive jurisdiction with respect

to all matters arising from or related to the implementation of this InterimFinal Order.

        41.       Reservations to Final Order. Notwithstanding language in this Interim Order that

provides that certain relief is subject to or conditioned upon entry of a Final Order, such

provisions are not intended to be automatically effective and are without prejudice to rights of

parties in interest to object to the relief on a final basis and the Court’s authority to determine the

final relief.




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                                             Exhibit A-1

                                   DIP Credit AgreementPlan Budget




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                                          Exhibit BA-2

                                          Sale Budget




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Document comparison by Workshare Compare on Wednesday, October 11,
2023 11:36:16 AM
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Document 1 ID       PowerDocs://DOCS_SF/109541/5
                    DOCS_SF-#109541-v5-Amyris_-_Second_Interim_DIP_O
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Document 2 ID       PowerDocs://DOCS_DE/245281/1
                    DOCS_DE-#245281-v1-Proposed_Finali_DIP_Order_(fro
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                    m_Goodwin_prior_to_10.11_hearing)
Rendering set       Standard

Legend:
Insertion
Deletion
Moved from
Moved to
Style change
Format change
Moved deletion
Inserted cell
Deleted cell
Moved cell
Split/Merged cell
Padding cell

Statistics:
                                      Count
Insertions                             335
Deletions                              298
Moved from                               4
Moved to                                 4
Style changes                            0
Format changes                           0
Total changes                          641
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